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                         UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, CENTRAL DIVISION


IN RE POLARITYTE, INC. SECURITIES         Master File No. 2:18-cv-00510-JNP
LITIGATION,                               (Consolidated with 2:18-cv-00514-DB)

THIS DOCUMENT RELATES TO:                 District Judge Jill Parish

All Actions                               AMENDED     CLASS     ACTION
                                          COMPLAINT FOR VIOLATION OF
                                          THE FEDERAL SECURITIES LAWS

                                          JURY TRIAL DEMANDED
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       Lead Plaintiff Yedid Lawi (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s amended complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia,

the investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of the Defendants’ public documents, conference calls and announcements made

by Defendants, United States Securities and Exchange Commission (“SEC”) filings, wire and

press releases published by and regarding PolarityTE, Inc. (“PolarityTE” or the “Company”),

analysts’ reports and advisories about the Company, and information readily obtainable on the

Internet. Plaintiff believes that substantial evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

I.     NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all

persons other than Defendants who purchased or otherwise acquired PolarityTE securities

between April 7, 2017 and March 15, 2019, both dates inclusive (the “Class Period”). Plaintiff

seeks to recover compensable damages caused by Defendants’ violations of the federal securities

laws and to pursue remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder.

       2.      PolarityTE purports to be a commercial-stage biotechnology and regenerative

biomaterials company focused on discovering, designing and developing a range of regenerative

tissue products and biomaterials for the fields of medicine, biomedical engineering and material

sciences. The Company’s leading product is SkinTE, which is intended to be used by physicians

or other appropriate healthcare providers for homologous uses of skin tissues/integument.

PolarityTE claims that patients who have suffered from an event, disease, process or acquired


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deficit that results in the functional loss or void of skin/integument systems can receive SkinTE

as an adjunct and/or in place of split-thickness skin grafting, full-thickness grafting, temporizing

skin coverage and/or skin substitute products.

       3.      PolarityTE is the latest iteration of a public company that has morphed six times.

In its prior iteration, when the company was named Majesco Entertainment Holdings

(“Majesco”), it received backing by a group of “fraudsters,” including, the Company’s former

Chief Financial Officer (“CFO”) Defendant John Stetson (“Stetson”), along with Barry Honig

(“Honig”) and Michael Brauser (“Brauser”), both of whom are 7% shareholders of PolarityTE.

These fraudsters were recently charged by the SEC for orchestrating “pump and dump” schemes

in three unrelated companies. These fraudsters were also behind a reverse-merger that brought

PolarityTE public.

       4.      On December 7, 2016, Majesco filed a Form 8-K disclosing that on December 1,

2016, it had entered into an Agreement and Plan of Reorganization (“the Agreement”) with

Majesco Acquisition Corp., a Nevada corporation and wholly-owned subsidiary of Majesco and

PolarityTE, and Dr. Denver Lough (“Lough”) the owner of 100% of the issued and outstanding

shares of capital stock of PolarityTE.

       5.      As discussed further below, due to the involvement of these “fraudsters” in

PolarityTE, the SEC also recently opened an investigation into the Company, and has filed a

formal order of investigation against Honig, Stetson and Brauser into potential violations of the

anti-fraud and other provisions of the Securities Act, the Exchange Act and SEC rules

promulgated thereunder by writing, or causing to be written, false or misleading promotional

articles, engaging in a variety of other manipulative trading practices as well as filing false

reports of their beneficial ownership or failure to file reports of their beneficial ownership when

required to do so, in connection with PolarityTE.


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Defendants’ False Statements About The SkinTE Patent Application

       6.      The Class Period begins on April 7, 2017, when PolarityTE announced the

closing of the Agreement through which the Company purchased Lough’s pending patent

application #14/954,335 (“the November 2015 SkinTE Patent Application”) in exchange for over

$104 million of PolarityTE stock (“the Merger”). One week prior, on March 31, 2017, the U.S.

Patent and Trademark Office (“USPTO”) posted on the November 2015 SkinTE Patent

Application’s website its decision to issue a Non-Final Rejection of the patent. The USPTO

mailed the Non-Final Rejection letter on April 7, 2017—the same day of the Merger.

       7.      Additionally, on April 7, 2017 PolarityTE filed an 8-K with the SEC that stated

that “Polarity[te] NV is the owner of a novel regenerative medicine and tissue engineering

platform developed and patented by Dr. Lough,” and on a FOX Business interview published on

October 24, 2017, Defendant Lough publicly misrepresented the technology, stating that “[w]e

found out this was sort of a novel technology, and, we ended up patenting it and being

approached by a variety of investors.” These statements were materially misleading.

       8.      Over the next several months, PolarityTE issued various statements about the

SkinTE product and/or patent applications, as well as statements discussing intellectual property

risks generally, that failed to disclose the fact that PolarityTE had received a Non-Final Rejection

of the November 2015 SkinTE Patent Application.

       9.      On October 25, 2017, Seeking Alpha published an article by White Research,

titled, “PolarityTE: A Comprehensive Look at The Bull Vs. Bear Cases”, finally exposing

PolarityTE’s contradictory, misleading and flipflopping statements, at times stating that the

Company had a “patented technology” and at other times stating it had a “patent application.”

       10.     Following the disclosures in the Seeking Alpha article, PolarityTE’s share price

fell $0.98, or 3.94%, over a two-day decline, to close at $23.92 on October 26, 2017.


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       11.     On June 4, 2018, the USPTO issued a Final Rejection for the November 2015

SkinTE Patent Application. The same day, PolarityTE announced an offering of 2.1 million

shares priced at $25.50 per share.

       12.     On June 5, 2018, PolarityTE entered into an underwriting agreement with Cantor

Fitzgerald relating to the issuance and sale of the Company’s common stock. In the underwriting

agreement, PolarityTE failed to disclose that it had received a Final Rejection from the USPTO

for the November 2015 SkinTE Patent Application.

       13.     On June 25, 2018, Citron Research published a report exposing the Defendants’

failure to disclose the USPTO’s March 31, 2017 notice of Non-Final rejection of the 2015

SkinTE Patent Application and the USPTO’s June 4, 2018 Final Rejection.

       14.     On this news, PolarityTE’s share price fell $12.32, or 31.81%, over a two-day

decline, to close at $26.40 on June 26, 2018.

       15.     On June 27, 2018, PolarityTE issued a press release, acknowledging for the first

time that it had received Non-Final and Final Rejections of the November 2015 SkinTE Patent

Application.

       16.     On this news, PolarityTE’s share price fell another $3.35, or 12.68%, to close at

$23.06 on June 27, 2018.

The SEC Action Against Unrelated Entities And The Investigation Of The Company

       17.     On September 7, 2018, the SEC filed a complaint in the U.S. District Court for

the Southern District of New York alleging that certain persons, including former CFO Stetson,

manipulated the price of securities of three unrelated public companies. Defendant Stetson was

subsequently terminated by PolarityTE.

       18.     On this news, PolarityTE’s share price fell $3.92, or 16.03%, to close at $20.54 on

September 7, 2018.


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        19.    In October 2018, PolarityTE received a document request and inquiries from the

SEC relating to subjects addressed in short seller reports, including Citron Research.

        20.    On March 4, 2019, PolarityTE received notice that the SEC opened a formal

investigation of the Company for possible violations of securities laws, including the anti-price

manipulation provisions of the Exchange Act, regarding its public disclosures and ownership. It

also received a subpoena on March 1, 2019 requesting additional documents related to

communications between the company and others, which were identified in the SEC Complaint

filed on September 7, 2018, including Honig, Defendant Stetson, and Brauser, the Merger, its

regenerative medicine business, including SkinTE, and any promotion of the Company or its

securities.

        21.    On March 18, 2019, PolarityTE disclosed the SEC investigation and subpoena in

its Form 10-KT filing.

        22.    Following the disclosure in the March 18, 2019 10-KT, PolarityTE’s share price

fell $3.39, or 21.91%, over a three-day decline, to close at $12.08 on March 20, 2019.

Defendants Failed To Disclose Form 483 Violations

        23.    The SkinTE product, and its manufacturing facilities, are required to comply with

current good tissue practices (“cGTPs”). PolarityTE’s facilities are subject to FDA inspections.

The FDA issues Form 483 to management at the conclusion of an inspection when investigators

have observed any conditions that in their judgment may constitute violations of the Food Drug

and Cosmetic (FD&C) Act and related Acts.

        24.    On July 13, 2018, at the conclusion of an FDA inspection of the Company’s

facilities where SkinTE was manufactured, PolarityTE received a Form 483. The Form 483

noted eight separately observed violations of FDA regulations regarding cGTPs. The violations

noted PolarityTE’s complete lack of controls in the manufacture of the SkinTE product.


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       25.     On September 12, 2018, PolarityTE conducted a conference call with analysts to

discuss PolarityTE’s 3Q 2018 results. While touting PolarityTE’s state of the art manufacturing

facilities, Defendant Lough failed to disclose that the same Salt Lake City facility where they

were manufacturing the SkinTE product had received a Form 483 with eight noted violations.

       26.     On September 13, 2018, Defendant Lough spoke at the Morgan Stanley Health

Conference. Defendant Lough stated that the Company had “very clean rooms” and “an

assembly line mechanism in order for us to maintain the absolute utmost aseptic technique”.

Again, Defendant Lough failed to disclose the receipt of the Form 483.

       27.     On September 25, 2018, The Capitol Forum, a $24,000/year subscription news

service with an undetermined number of subscribers, published an article with the headline,

“PolarityTE: FDA Form 483 Raises Issues with SkinTE Processing and Operations.” The

content available to the non-subscribing public stated: “The FDA has identified issues at

PolarityTE’s (PTE) SkinTE facility that may violate the Food Drug and Cosmetic Act, according

to a Form 483 that was issued to PolarityTE after the FDA conducted an inspection of the facility

between July 9 and 13, 2018.”

       28.     On this news, PolarityTE’s share price fell $2.80, or 12.87%, over a two-day

decline, to close at $18.95 on September 26, 2018.

       29.     On October 18, 2018, Citron Research published a report titled: “PolarityTE: This

Game Is Over! Price Target - $2 The FDA Has Spoken!”              In addition to reporting that

PolarityTE received a Form 483, Citron Research included a link to the actual Form 483 which

detailed the eight FDA observations of violations of FDA regulations.

       30.     Following the disclosures in the Citron Research report, PolarityTE’s share price

fell $2.49, or 17.05%, to close at $12.11 on October 18, 2018.




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Defendants Falsely Touted Registration Under Section 361

       31.     On October 3, 2017, PolarityTE issued a press release announcing that it had

registered SkinTE with the FDA pursuant to Section 361 of the Public Health Service Act

(“Section 361”). A product can be regulated solely under Section 361 if it is a human cells,

tissues, and cellular and tissue-based product (“HCT/P”) that meets certain criteria under Title 21

CFR 1271: (1) is minimally manipulated; (2) is intended for homologous use only; and (3) the

manufacture of the HCT/P must not involve the combination of the product with other

substances except for certain discreet exceptions. Many skin products and fake tissue products

have registered under Section 361 yet have never gained FDA approval.

       32.     The SkinTE product objectively failed to meet any of three requirements for

Section 361 regulation. Yet, Defendants repeatedly indicated to investors throughout the Class

Period that SkinTE was eligible for regulation under Section 361, which would allow PolarityTE

to avoid the expensive and burdensome 10 year plus process of undergoing clinical trials on

human patients and presenting this data to the FDA to gain its stamp of approval. Instead, by

registering under Section 361, Defendants were able to take their product straight to market. But

Defendants knew that SkinTE does not qualify for registration solely under Section 361.

       33.     On July 20, 2018, Seeking Alpha published an article by Research Noir titled,

“Citron Just Scratched The Surface: Material Omissions and False Claims From PolarityTE,”

exposing the fact that the SkinTE product did not meet, and couldn’t possibly have met, the

requirements for regulation under Section 361 because the product did not meet the “minimally

manipulated” and “not combined with another article” prongs necessitated for regulation solely

under Section 361. Defendants’ prior statements regarding SkinTE’s regulation under Section

361 omitted material facts, were imbedded with untrue material facts, and lacked a factual basis.



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        34.      On July 23, 2018, Ozgur Ogut published an article titled, “SkinTE and the FDA’s

361 Pathway” further exposing the fact that the SkinTE product did not meet regulation under

Section 361, because the product – in addition to not meeting the “minimally manipulated” and

“not combined with another article” prongs – also did not meet the “homologous use” prong.

        35.      Following disclosures in the Seeking Alpha and Ozgur Ogut articles, PolarityTE’s

share price fell $2.54, or 12.41%, over the following two trading sessions, to close at $17.93 on

July 23, 2018.

        36.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s common shares, Plaintiff and other Class members

have suffered significant losses and damages.

II.     JURISDICTION AND VENUE

        37.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and §78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. §240.10b-5).

        38.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§1331 and §27 of the Exchange Act.

        39.      Venue is proper in this Judicial District pursuant to §27 of the Exchange Act (15

U.S.C. §78aa) and 28 U.S.C. §1391(b) as PolarityTE’s principal executive offices are located

within this Judicial District.

        40.      In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.




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III.    PARTIES

        41.    Lead Plaintiff Yedid Lawi purchased PolarityTE securities at artificially inflated

prices during the Class Period and was damaged upon the revelation of the alleged corrective

disclosures.

        42.    Defendant PolarityTE is incorporated in Delaware, and the Company’s principal

executive offices are located at 123 Wright Brothers Drive, Salt Lake City, UT 84116. Until

September 18, 2018, PolarityTE traded under the NASDAQ ticker symbol “COOL”.

PolarityTE’s common stock now trades on the NASDAQ under the ticker symbol “PTE.”

        43.    Defendant PolarityTE billed itself as “an entirely new and radically unique

regenerative medicine company committed to developing the first forms of functionally-

polarized autologous tissues for use in medical procedures requiring reconstructive applications

by surgeons and wound care specialists.”

        44.    PolarityTE was founded by Defendant Lough and Dr. Edward Swanson

(“Swanson”), who worked as residents in plastic and reconstructive surgery at Johns Hopkins

University School of Medicine and left to form the Company.

        45.    Defendant Lough has served at all relevant times as PolarityTE’s Chief Executive

Officer (“CEO”), Chief Scientific Officer, and Chairman of the Board of Directors.

        46.    Defendant John Stetson (“Stetson”) served as PolarityTE’s CFO until June 20,

2018, when he was appointed as Chief Investment Officer and President of the Company’s

newly formed strategic development office, PolarityIS. On September 7, 2018, after he was

named a defendant in a suit brought by the SEC, Defendant Stetson was terminated by the

Company.

        47.    The Defendants referenced above in ¶¶ 45-46 are sometimes referred to herein

collectively as the “Individual Defendants.”

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       48.     The Individual Defendants possessed the power and authority to control the

contents of PolarityTE’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of the Company’s SEC filings and press

releases alleged herein to be misleading prior to or shortly after their issuance and had the ability

and opportunity to prevent their issuance or to cause them to be corrected. Because of their

positions with the Company, and their access to material information available to them but not to

the public, the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to and were being concealed from the public, and that the positive representations

being made were then materially false and misleading. The Individual Defendants are liable for

the false statements and omissions pleaded herein.

IV.    MATERIALLY FALSE AND MISLEADING STATEMENTS ISSUED DURING
       THE CLASS PERIOD

       49.     On March 31, 2017, the USPTO posted the Non-Final Rejection of PolarityTE’s

November 2015 SkinTE Patent Application on “PAIR,” the USPTO’s website for viewing the

status of patent applications. See § VI. B. 4. After the Non-Final Rejection, PolarityTE withdrew

all but four of its original 37 claims. As to the four remaining claims, the USPTO concluded that

they failed the written description requirement and were also deemed “obvious” in light of three

prior publications.

       50.     The Class Period begins on April 7, 2017 with Defendants’ first public statements

following the posting of the Non-Final Rejection of the November 2015 SkinTE Patent

Application.

Second Quarter Fiscal Year 2017 (February 1, 2017-April 30, 2017)

       51.     On April 7, 2017, PolarityTE filed a Form 8-K with the SEC, signed by

Defendant Stetson, announcing the completion of the Merger. The report stated that Polarityte



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NV, the Company’s wholly owned subsidiary, “is the owner of a novel regenerative medicine

and tissue engineering platform developed and patented by Dr. Lough.” (Emphasis supplied.)

       52.     The statement referenced in ¶ 51 is materially false and/or misleading because it

misrepresented and/or failed to disclose the following adverse facts pertaining to the Company’s

business and operations which were known to Defendants or recklessly disregarded by them:

(i) there was no patented platform; and (ii) the USPTO had already issued a notice of Non-Final

rejection of the November 2015 SkinTE Patent Application.

       53.     On April 27, 2017, Defendant Lough again falsely represented that PolarityTE

had a patent when he made the following statement in an interview with BioInformant (emphasis

supplied): “That’s a loaded question and being a public company with patented and

proprietary materials, I can’t go into too much detail....”

       54.     The statements referenced in ¶ 53 are materially false and/or misleading because

they misrepresented and/or failed to disclose the following adverse facts pertaining to the

Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) PolarityTE was not the owner of a patent; and (ii) the USPTO had already issued a

notice of Non-Final rejection of the November 2015 SkinTE Patent Application.

Third Quarter Fiscal Year 2017 (May 1, 2017-July 31, 2017)

       55.     On June 8, 2017 PolarityTE filed a Form 8-K with the SEC, signed by Defendant

Stetson, with an attached press release. The press release announced pre-clinical results for the

SkinTE product and claimed that it is an “autologous homologous SkinTE™ construct.”

       56.     The statements referenced in ¶ 55 were materially false and/or misleading because

they misrepresented and/or failed to disclose that SkinTE was not autologous or homologous as

defined by the FDA in Section 361, which was known to Defendants or recklessly disregarded

by them.


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       57.     The June 8, 2017 press release also stated (emphasis supplied): “The Company’s

novel regenerative medicine and tissue engineering platform was developed and patented by

chairman and chief executive officer, Denver Lough M.D., Ph.D.”

       58.     The statements referenced in ¶ 57 were materially false and/or misleading because

they misrepresented and/or failed to disclose the following adverse facts pertaining to the

Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) PolarityTE was not the owner of a patented platform; and (ii) the USPTO had

already issued a notice of Non-Final rejection of the November 2015 SkinTE Patent Application.

       59.     On June 8, 2017, PolarityTE held a Conference Call at the Future of Skin

Regeneration Conference. On the call, Defendant Lough made specific statements touting the

alleged success of SkinTE, and its underlying technology, while never disclosing the Non-Final

Rejection of the November 2015 SkinTE Patent Application, its leading product. On the call,

Defendant Lough stated (emphasis supplied): “[T]he purpose of today’s call is to follow-up on

today’s press release announcing some revolutionary data from our lead autologous,

homologous SkinTE construct for regenerative skin applications and burns wounds and scar

treatment efforts.”

       60.     The statements referenced in ¶ 59 were materially false and/or misleading because

they misrepresented and/or failed to disclose the following adverse facts pertaining to the

Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) the USPTO had already issued a notice of Non-Final rejection of the November

2015 SkinTE Patent Application; and (ii) SkinTE was not autologous or homologous as defined

by the FDA in Section 361.

       61.     On June 9, 2017, PolarityTE filed a Form 10-Q with the SEC, for the quarterly

period ended April 30, 2017, signed by Defendants Lough and Stetson (the “June 9, 2017 10-


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Q”). The June 9, 2017 10-Q contained signed certifications by Defendants Lough and Stetson

pursuant to Section 302 of the Sarbanes-Oxley Act of 2002 (“SOX”), stating that they both

reviewed the quarterly report and “[b]ased on my knowledge, this report does not contain any

untrue statement of a material fact or omit to state a material fact necessary to make the

statements made, in light of the circumstances under which such statements were made, not

misleading. . . .”

        62.      The June 9, 2017 10-Q stated (emphasis supplied), “Dr. Lough is the named

inventor under a pending patent application for a novel regenerative medicine and tissue

engineering platform filed in the United States and elsewhere.”

        63.     The statement referenced in ¶ 62 was materially false and/or misleading because

it misrepresented and/or failed to disclose the following adverse facts pertaining to the

Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) the USPTO had already issued a notice of Non-Final rejection of the November

2015 SkinTE Patent Application, the Company’s leading product; and (ii) the Company knew

there was a substantial likelihood that the Company’s engineering platform would never receive

a patent.

Fourth Quarter and End of 2017 Fiscal Year (August 1, 2017-October 31, 2017)

        64.     On September 14, 2017, PolarityTE filed a Form 10-Q with the SEC for the

quarterly period ended July 31, 2017, signed by Defendant Lough and Defendant Stetson (“the

September 14, 2017 10-Q”). The September 14, 2017 10-Q also contained the same Section 302

SOX certifications by Defendants Lough and Stetson referenced in ¶ 61. The September 14,

2017 10-Q repeated the statement that “Dr. Lough is the named inventor under a pending

patent application for a novel regenerative medicine and tissue engineering platform filed in the

United States and elsewhere.” (Emphasis supplied.)


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       65.    The statement referenced in ¶ 64 was materially false and/or misleading because it

misrepresented and/or failed to disclose the following adverse facts pertaining to the Company’s

business and operations which were known to Defendants or recklessly disregarded by them:

(i) the USPTO had already issued a notice of Non-Final rejection of the November 2015 SkinTE

Patent Application, the Company’s leading product; and (ii) the Company knew there was a

substantial likelihood that the Company’s engineering platform would never receive a patent.

       66.    On October 3, 2017, PolarityTE issued a press release “announc[ing] FDA

Registration of Lead Product – SkinTE.” The press release stated (emphasis supplied):

       PolarityTE™, Inc. (NASDAQ:COOL) today announced that the Company’s
       lead product, SkinTE™, has been registered with the U.S. Food and Drug
       Administration (FDA) pursuant to applicable regulations governing human
       cells, tissues, and cellular and tissue-based products (HCT/Ps). SkinTE™ is
       an autologous, minimally manipulated construct intended for homologous
       uses of skin tissues.

       “The FDA registration of SkinTE™ is an important regulatory step that sets
       the stage for commercialization and a staged market entry of this
       revolutionary technology into clinical application,” said Denver M. Lough,
       M.D., Ph.D., Chief Executive Officer of PolarityTE™.

       About SkinTE™ and FDA Tissue Establishment Registration
       SkinTE™ is regulated by the FDA as an HCT/P solely under Section 361 of
       the Public Health Service Act and 21 CFR 1271.

       67.    The statements referenced in ¶ 66 were materially false and/or misleading because

they misrepresented and/or failed to disclose that SkinTE was not autologous or homologous as

defined by the FDA in Section 361 and therefore not eligible for regulation solely under Section

361, which was known to Defendants or recklessly disregarded by them.

       68.    During a FOX Business interview published on October 24, 2017, Defendant

Lough publicly misrepresented that the technology underlying the Company’s SkinTE process—

i.e., the November 2015 SkinTE Patent Application —was already patented, stating that “[w]e




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found out this was sort of a novel technology, and, we ended up patenting it and being

approached by a variety of investors.” (Emphasis supplied.)

       69.    The statement referenced in ¶ 68 was materially false and/or misleading because

Defendant Lough misrepresented and/or failed to disclose the following adverse facts pertaining

to the Company’s business and operations which were known to Defendants or recklessly

disregarded by them: (i) PolarityTE was not the owner of a patented platform; (ii) the USPTO

had already issued a notice of Non-Final rejection of the November 2015 SkinTE Patent

Application; and (iii) the Company knew there was a substantial likelihood that the Company’s

engineering platform would never receive a patent.

First Quarter Fiscal Year 2018 (November 1, 2017-January 31, 2018)

       70.    On November 1, 2017, PolarityTE filed a Form 8-K with the SEC, signed by

Defendant Stetson, with an attached press release in which the Company discussed intellectual

property risks in generic terms, while never disclosing the Non-Final Rejection for the November

2015 SkinTE Patent, its leading product (emphasis supplied):

       We cannot ensure that any of the pending patent applications we acquire,
       have acquired, or may file will result in issued patents. Competitors may be
       able to design around our patents or develop procedures that provide outcomes
       that are comparable or even superior to ours…The failure to obtain and
       maintain patents and/or protect our intellectual property rights could have a
       material and adverse effect on our business, results of operations, and
       financial condition.

       71.    The statements referenced in ¶ 70       were materially false and/or misleading

because they misrepresented and/or failed to disclose the following adverse facts pertaining to

the Company’s business and operations which were known to Defendants or recklessly

disregarded by them: (i) the USPTO had already issued a notice of Non-Final rejection of the

November 2015 SkinTE Patent Application, the Company’s leading product; and (ii) the




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Company knew there was a substantial likelihood that the Company’s engineering platform

would never receive a patent.

       72.     On December 15, 2017, PolarityTE issued a press release “announc[ing]

Application of SkinTE on First Patients.” The press release stated (emphasis supplied): “About

SkinTE™ and FDA Tissue Establishment Registration SkinTE™ is regulated by the FDA as

an HCT/P solely under Section 361 of the Public Health Service Act and 21 CFR 1271.”

       73.     The statements referenced in ¶ 72        were materially false and/or misleading

because they misrepresented and/or failed to disclose that SkinTE was not eligible for regulation

solely under Section 361 on the grounds it failed to meet any of the three criteria required to

avoid pre-market clearance and approval requirements, which was known to Defendants or

recklessly disregarded by them.

       74.     On January 30, 2018 PolarityTE filed a Form 10-K with the SEC, for fiscal year

ended October 31, 2017, signed by Defendants Lough and Stetson (the “2017 10-K”). The 2017

10-K also contained the same Section 302 SOX certifications by Defendants Lough and Stetson

referenced in ¶ 61.

       75.     In the 2017 10-K, the Company discussed intellectual property risks in generic

terms, while never disclosing the Non-Final Rejection of the November 2015 SkinTE Patent

Application, its leading product (emphasis supplied):

       We cannot ensure that any of the pending patent applications we acquire,
       have acquired, or may file will result in issued patents. Competitors may be
       able to design around our patents or develop procedures that provide outcomes
       that are comparable or even superior to ours. . . . The failure to obtain and
       maintain patents and/or protect our intellectual property rights could have a
       material and adverse effect on our business, results of operations, and
       financial condition.

       76.     The statements referenced in ¶ 75 were materially false and/or misleading because

they misrepresented and/or failed to disclose the following adverse facts pertaining to the


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Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) the USPTO had already issued a notice of Non-Final rejection of the November

2015 SkinTE Patent Application, the Company’s leading product; and (ii) the Company knew

there was a substantial likelihood that the Company’s engineering platform would never receive

a patent.

       77.     In the 2017 10-K, the Company also made the following statements (emphasis

supplied):

       Our first product, SkinTE™, is registered with the United States Food and
       Drug Administration, or the FDA, pursuant to the regulatory pathway for
       human cells, tissues, and cellular and tissue-based products (HCT/Ps)
       regulated solely under Section 361 of the Public Health Service Act, or 361
       HCT/Ps, which permits qualifying products to be marketed without first
       obtaining FDA marketing authorization or approval.

                                         ***
       Efficient Regulatory Pathway. We believe our products and product
       candidates, including SkinTE, are appropriately regulated by the FDA as
       361 HCT/Ps, which provides us with the potential to register and list
       products with the FDA, and begin commercializing quickly and efficiently.

                                          ***
       SkinTE was registered as a 361 HCT/P with the FDA pursuant to Section 361
       of the Public Health Service Act and 21 CFR 1271.

       78.     The statements referenced in ¶ 77 were materially false and/or misleading because

they misrepresented and/or failed to disclose that the SkinTE product was not eligible for

regulation solely under Section 361 on the grounds that it failed to meet any of the three criteria

required to avoid pre-market clearance and approval requirements, which was known to

Defendants or recklessly disregarded by them.

Second Quarter Fiscal Year 2018 (February 1, 2018-April 30, 2018)

       79.     On February 2, 2018, PolarityTE issued a press release “Provid[ing] Business

Updates on Clinical Use of SkinTE: Regeneration of Full-Thickness Skin.” The press release



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stated (emphasis supplied): “About SkinTE™ SkinTE is regulated by the FDA as an HCT/P

solely under Section 361 of the Public Health Service Act and 21 CFR 1271.”

       80.     The statements referenced in ¶ 79       were materially false and/or misleading

because they misrepresented and/or failed to disclose that the SkinTE product was not eligible

for regulation solely under Section 361 on the grounds that it failed to meet any of the three

criteria required to avoid pre-market clearance and approval requirements, which was known to

Defendants or recklessly disregarded by them.

       81.     On March 14, 2018, PolarityTE filed a Form S-3 with the SEC, signed by

Defendants Lough and Stetson, which stated (emphasis supplied):

       Our first product, SkinTE™, is registered with the United States Food and
       Drug Administration (“FDA”) pursuant to the regulatory pathway for
       human cells, tissues, and cellular and tissue-based products (HCT/Ps)
       regulated solely under Section 361 of the Public Health Service Act (“361
       HCT/Ps”), which permits qualifying products to be marketed without first
       obtaining FDA marketing authorization or approval…”

       82.     The statements referenced in ¶ 81 were materially false and/or misleading because

they misrepresented and/or failed to disclose that the SkinTE product was not eligible for

regulation solely under Section 361 on the grounds that it failed to meet any of the three criteria

required to avoid pre-market clearance and approval requirements, which was known to

Defendants or recklessly disregarded by them.

       83.     On March 19, 2018, PolarityTE filed a Form 10-Q with the SEC (“March 19,

2018 10-Q”), for the period ended January 31, 2018, signed by Defendants Lough and Stetson.

The March 19, 2018 10-Q also contained the same Section 302 SOX certifications by

Defendants Lough and Stetson referenced in ¶ 61. The March 19, 2018 10-Q discussed

intellectual property risks in generic terms, while never disclosing the Non-Final Rejection of the

November 2015 SkinTE Patent Application, its leading product (emphasis supplied):



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       We cannot ensure that any of the pending patent applications we acquire,
       have acquired, or may file will result in issued patents. Competitors may be
       able to design around our patents or develop procedures that provide outcomes
       that are comparable or even superior to ours. . . . The failure to obtain and
       maintain patents and/or protect our intellectual property rights could have a
       material and adverse effect on our business, results of operations, and
       financial condition.

       84.     The statements referenced in ¶ 83 were materially false and/or misleading because

they misrepresented and/or failed to disclose the following adverse facts pertaining to the

Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) the USPTO had already issued a notice of Non-Final rejection of the November

2015 SkinTE Patent Application, the Company’s leading product; and (ii) the Company knew

there was a substantial likelihood that the Company’s engineering platform would never receive

a patent.

       85.     The March 19, 2018 10-Q also made the following statements (emphasis

supplied): “We believe that our current product candidates are appropriately regulated

under Section 361 of the Public Health Service Act (so-called ‘361 HCT/Ps’) and that as a

result no premarket review or approval by the FDA is required.”

       86.     The statements referenced in ¶ 85 were materially false and/or misleading because

they misrepresented and/or failed to disclose that the SkinTE product was not eligible for

regulation solely under Section 361 on the grounds that it failed to meet any of the three criteria

required to avoid pre-market clearance and approval requirements, which was known to

Defendants or recklessly disregarded by them.

       87.     On April 11, 2018, PolarityTE issued a press release announcing a stock offering.

In connection with the offering, on April 13, 2018, PolarityTE filed a prospectus with the SEC

on Form 424B5 (“the April 2018 Form 424B5”), offering 2,031,250 shares of the Company’s

common stock for total gross proceeds of approximately $30 million.


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       88.     The April 2018 Form 424B5 had generic risk statements regarding potential

“developments” concerning “patents” without mentioning the Non-Final Rejection of the

November 2015 SkinTE Patent; its leading product (emphasis supplied): “Some of the factors

that may cause the market price of our common stock to fluctuate or decrease below the price

paid in this offering include: . . .developments or disputes concerning patents or other

proprietary rights;”

       89.     The statements referenced in ¶ 88 were materially false and/or misleading because

they misrepresented and/or failed to disclose the following adverse facts pertaining to the

Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) the Company has no patents; (ii) the USPTO had already issued a notice of Non-

Final rejection of the November 2015 SkinTE Patent Application, the Company’s leading

product; and (iii) the Company knew there was a substantial likelihood that the Company’s

engineering platform would never receive a patent.

       90.     The April 2018 Form 424B5 also stated (emphasis supplied):

       Our first product, SkinTE™, is registered with the United States Food and
       Drug Administration (“FDA”) pursuant to the regulatory pathway for
       human cells, tissues, and cellular and tissue-based products (“HCT/Ps”)
       regulated solely under Section 361 of the Public Health Service Act (“361
       HCT/Ps”), which permits qualifying products to be marketed without first
       obtaining FDA marketing authorization or approval…

       91.     The statements referenced in ¶ 90 were materially false and/or misleading because

they misrepresented and/or failed to disclose that the SkinTE product was not eligible for

regulation solely under Section 361 on the grounds that it failed to meet any of the three criteria

required to avoid pre-market clearance and approval requirements, which was known to

Defendants or recklessly disregarded by them.




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Third Quarter Fiscal Year 2018 (May 1, 2018-July 31, 2018)

       92.     On June 4, 2018, the USPTO posted on PolarityTE’s Public PAIR the Final

Rejection of the November 2015 SkinTE Patent Application. See § VI. B. 5. The USPTO

determined that “no claim is allowed” because they were “obvious” as defined by 35 U.S.C. 103.

       93.     On June 4, 2018, the same day USPTO’s Final Rejection was posted on the Public

PAIR, PolarityTE issued a press release announcing a stock offering. In connection with the

offering, on June 7, 2018, PolarityTE filed with the SEC a prospectus on Form 424B5 (“the June

2018 Prospectus”), offering 2,135,550 shares of the Company’s common stock priced at $25.50

per share.

       94.     The June 2018 Prospectus had generic risk statements regarding potential

“developments” concerning “patents” without mentioning the Non-Final or Final Rejection of

the November 2015 SkinTE Patent, its leading product (emphasis supplied): “Some of the

factors that may cause the market price of our common stock to fluctuate or decrease below the

price paid in this offering include: . . . developments or disputes concerning patents or other

proprietary rights;”

       95.     The statements referenced in ¶ 94     were materially false and/or misleading

because they misrepresented and/or failed to disclose the following adverse facts pertaining to

the Company’s business and operations which were known to Defendants or recklessly

disregarded by them: (i) the Company had no patents; (ii) the USPTO had already issued a

notice of Non-Final and Final rejection of the November 2015 SkinTE Patent Application, the

Company’s leading product; and (iii) the Company knew there was a substantial likelihood that

the Company’s engineering platform would never receive a patent.

       96.     The June 2018 Prospectus also stated (emphasis supplied):


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       Our first product, SkinTE™, is registered with the United States Food and
       Drug Administration (“FDA”) pursuant to the regulatory pathway for
       human cells, tissues, and cellular and tissue-based products (HCT/Ps)
       regulated solely under Section 361 of the Public Health Service Act (“361
       HCT/Ps”), which permits qualifying products to be marketed without first
       obtaining FDA marketing authorization or approval, and is commercially
       available for the repair, reconstruction, replacement and regeneration of skin (i.e.,
       homologous uses) for patients who have suffered from wounds, burns or injuries
       that require skin coverage over both small and large areas of their body.

       97.    The statements referenced in ¶ 96        were materially false and/or misleading

because they misrepresented and/or failed to disclose that the SkinTE product was not eligible

for regulation solely under Section 361 on the grounds that it failed to meet any of the three

criteria required to avoid pre-market clearance and approval requirements, which was known to

Defendants or recklessly disregarded by them.

       98.    On June 4, 2018, PolarityTE filed a Form 8-K with the SEC, signed by Defendant

Stetson, attaching as Exhibit No. 99.1, a PolarityTE Business Presentation, dated June 2018.

Slide 18 of the presentation had the heading, “SkinTE – Commercialization and Staged Growth.”

Thereunder, the presentation had certain subheadings purporting to explain the product

marketing of the SkinTE. One of the subheadings stated (emphasis supplied): “STAGE 2: FDA

361 HCT/P Process Verification(s). FDA regulatory processes for verified registrations and

site inspection with SkinTE as human cell/tissue product 361 HCT/P.”




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       99.     The statement referenced in ¶ 98 was materially false and/or misleading because

they misrepresented and/or failed to disclose the following adverse facts pertaining to the

Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) the SkinTE product was not eligible for regulation solely under Section 361 on the

grounds that it failed to meet any of the three criteria required to avoid pre-market clearance and

approval requirements; and (ii) misrepresented that SkinTE’s eligibility for regulation solely

under Section 361 had been or would be verified by the FDA.

       100.    On June 14, 2018, PolarityTE filed a Form 10-Q with the SEC, for the period

ended April 30, 2018, signed by Defendants Lough and Stetson (the “June 14, 10-Q”). The June

14, 2018 10-Q contained the same Section 302 SOX certifications by Defendants Lough and

Stetson referenced in ¶ 61. The Company discussed in general terms the potential risks to its

ability to raise capital and conduct operations, if it was unable to obtain patents, without



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disclosing the Final Rejection of the November 2015 SkinTE Patent Application, its leading

product (emphasis supplied):

       In order to grow and expand our business, and to introduce our new product
       candidates into the marketplace, we will need to raise a significant amount of
       additional funds. We will also need significant additional funds or a collaborative
       partner, or both, to finance the research and development activities. Accordingly,
       we are continuing to pursue additional sources of financing. Our future capital
       requirements will depend on numerous factors, including:…our ability to
       obtain valid and enforceable patents.

       101.   The statement referenced in ¶ 100 was materially false and/or misleading because

they misrepresented and/or failed to disclose the following adverse facts pertaining to the

Company’s business and operations which were known to Defendants or recklessly disregarded

by them: (i) that the USPTO had posted a Final Rejection of the November 2015 SkinTE Patent

Application, its lead product, on June 4, 2018; and (ii) the Company knew there was a substantial

likelihood that the Company’s engineering platform would never receive a patent.

       102.   On June 27, 2018, PolarityTE issued a press release to “[p]rovide Update on Key

Opinion Leader Event and Addresses Misleading Report.” With respect to SkinTE, the press

release stated (emphasis added): “About SkinTE™ SkinTE is regulated by the FDA as an

HCT/P solely under Section 361 of the Public Health Service Act and 21 CFR 1271.”

       103.   The statements referenced in ¶ 102 were materially false and/or misleading

because they misrepresented and/or failed to disclose that the SkinTE product was not eligible

for regulation solely under Section 361 on the grounds that it failed to meet any of the three

criteria required to avoid pre-market clearance and approval requirements, which was known to

Defendants or recklessly disregarded by them.

       104.   On September 12, 2018, PolarityTE conducted an earnings conference call with

analysts to discuss PolarityTE’s 3Q 2018 results (the “September 12, 2018 Conference Call”).




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Defendant Lough made the following statement regarding PolarityTE’s manufacturing

capabilities:

        We've also designed and built our first scalable biomedical manufacturing
        facility. In the first half of 2018, we moved our headquarters to a new
        200,000-square-foot facility in Salt Lake City and completed the construction
        and validation of our first series of high-throughput manufacturing suites,
        which were designed not just to support the manufacturing of SkinTE, but
        the other core TE technologies and pipeline products.

        105.    The statements referenced in ¶ 104 were materially false and/or misleading

because while touting the Company’s manufacturing capabilities, the Company failed to disclose

that on July 13, 2018, PolarityTE received a Form 483 denoting eight violations of FDA

regulations which could threaten the SkinTE launch. Such adverse facts, pertaining to the

Company’s business and operations, were known to Defendants or recklessly disregarded by

them.

        106.    On September 13, 2018, Defendant Lough spoke at the Morgan Stanley

Healthcare Conference about PolarityTE’s manufacturing capabilities, stating:

        PETER HARRISON: Any questions from the audience? I guess maybe talk a
        little bit about your manufacturing process. I mean, I know you’ve talked about
        manufacturing nodes throughout the country, the timing of that, as you think
        about launching more broadly outside of the 2 regions you’re currently in.

        DENVER M. LOUGH: Yes, absolutely. . . . We designed, developed and rolled
        out our manufacturing process in a manner, and respecting the fact that we wanted
        to maintain a lower COGS element and be able to get that price -- that product
        back to patients that were in need of it very quickly. Our manufacturing
        product -- process basically surrounds something what we the call [C-pack]
        units, controlled production, environmental columns, which are very large
        clean rooms essentially about the size of something like this, which then
        contain essentially smaller clean rooms or [LFGIs], laminar flow glow lights
        that are boxes that are in them, which allow us to turnover products much
        more quickly and efficiently, and sort of creating a little bit more of, I would
        call it, an assembly line mechanism in order for us to maintain the absolute
        utmost aseptic technique, the best quality checks and assessment possible for
        it, but to be able to move the product through more quickly, not culture and
        expand it in any form, during the manufacturing process and, in fact, allow it to be
        expanded and cultured on the patient themselves.


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        107.   The statements referenced in ¶ 106 were materially false and/or misleading

because while touting the Company’s manufacturing capabilities, the Company failed to disclose

that on July 13, 2018, PolarityTE received a Form 483 denoting eight violations of FDA

regulations which could threaten the SkinTE launch. Such adverse facts, pertaining to the

Company’s business and operations, were known to Defendants or recklessly disregarded by

them.

        108.   On January 14, 2019, Polarity filed a Form 10-K with the SEC for the fiscal year

ended October 31, 2018, signed by Defendant Lough (the “2018 10-K”). The 2018 10-K

contained the same SOX certification by Defendant Lough referenced in ¶ 61.

        109.   In the 2018 10-K, the Company discussed in generic terms the potential adverse

effect that investigatory and regulatory risks could have on its common stock price, while never

disclosing that in October 2018 the SEC had sent PolarityTE document requests and inquiries

relating to subjects addressed in the short seller reports published by Citron Research and others

(emphasis supplied):

        Our stock price has been highly volatile during the fiscal year ended October 31,
        2018, with closing stock prices ranging from a high of $38.97 per share to a low
        of $12.11 per share…The market price for our common stock may be
        influenced by many factors, including:…

               •   announcement of investigations or regulatory scrutiny of our
                   operations or lawsuits filed against us;

                                             ***

        In the ordinary course of business, we may become involved in lawsuits,
        claims, investigations, proceedings, and threats of litigation relating to
        intellectual property, commercial arrangements, regulatory compliance, and
        other matters. Except as noted above, at October 31, 2018, we were not party
        to any legal or arbitration proceedings that may have significant effects on
        our financial position or results of operations. No governmental proceedings
        are pending or, to our knowledge, contemplated against us. We are not a party
        to any material proceedings in which any director, member of senior management
        or affiliate of ours is either a party adverse to us or our subsidiaries or has a
        material interest adverse to us or our subsidiaries.

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       110.     The statements referenced in ¶ 109 were materially false and/or misleading

because they misrepresented and/or failed to disclose that the Company had already been

subjected to regulatory scrutiny by the SEC of its operations which could adversely affect its

stock price, which was known to Defendants or recklessly disregarded by them. Defendants also

likely knew that governmental proceedings were contemplated against the Company.

V.     THE TRUTH BEGINS TO EMERGE

       111.     On October 25, 2017, Seeking Alpha published an article by White Diamond

Research titled, “PolarityTE: A Comprehensive Look At The Bull Vs. Bear Cases, exposing

the fact that the SkinTE was not patented technology. The article was published a day after

Defendant Lough’s interview with FOX business, supra at ¶¶ 7, 68, where he falsely stated that

the SkinTE process was patented. As discussed, supra ¶¶ 49-110 and further discussed infra ¶¶

190-211, from before the start the Class Period up until Defendant Lough’s FOX interview on

October 24, 2017, the Company issued contradictory and misleading statements respecting the

November 2015 SkinTE Patent Application. At times, Defendants made statements stating that

the Company had a “patented technology” while at others stating that it had a “patent

application”.    The October 25, 2017 Seeking Alpha article exposed for the first time

PolarityTE’s flip flopping (emphasis in original): “PolarityTE’s SkinTE Product Is ‘Patent

Pending’ In the company’s IR deck, on page 6 it claims that Dr. Denver Lough is the

inventor/innovator behind patented PolarityTE platform. However, in the company’s latest 10-

Q, it clearly indicates that the company's asset is a patent application that has not yet been

granted by the USPTO.”

       112.     Following the disclosures in the Seeking Alpha article, PolarityTE’s share price

fell $0.98, or $3.94%, over a two-day decline, to close at $23.92 on October 26, 2017.



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       113.    On June 25, 2018, Citron Research published a report titled, “Citron Exposes

History of FRAUD Behind PolarityTE…” exposing the Defendants’ failure to disclose the

Company’s March 31, 2017 notice of Non-Final Rejection of the November 2015 SkinTE Patent

Application, and also highlighted the USPTO’s Final Rejection of the 2015 SkinTE Patent

Application on June 4, 2018:




       114.    Following the disclosures in the Citron Research report, PolarityTE’s share price

fell $12.32, or 31.81%, over a two-day decline, to close at $26.40 on June 26, 2018.

       115.    On June 27, 2018, PolarityTE issued a press release to “[p]rovide Update on Key

Opinion Leader Event and Addresses Misleading Report.” With respect to the Citron Research

published report, PolarityTE stated:

       Regarding online statements about a “non-final rejection” and a “final rejection”
       notice from the USPTO, the Company notes that such statements refer to the
       receipt of office actions from the USPTO…The Company is actively pursuing a
       variety of claims within multiple published non-provisional patent applications in
       the U.S…It is common for a first office action to be referred to as a “non-final
       rejection,” and for a second office action to be referred to as a “final rejection.”

       116.    Following the disclosures and confirmation by PolarityTE that it had received

Non-Final and Final Rejections regarding the November 2015 SkinTE Patent Application,

PolarityTE’s share price fell another $3.35, or 12.68%, to close at $23.06, on June 27, 2018.

       117.    On July 20, 2018, Seeking Alpha published an article by Research Noir titled,

“Citron Just Scratched The Surface: Material Omissions and False Claims From PolarityTE,”


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exposing the fact that the SkinTE product did not meet the requirements for regulation under

Section 361 because the product did not meet the “minimally manipulated” and “not combined

with another article” prongs necessary for regulation solely under Section 361.

       118.    According to the Seeking Alpha article, a review of the November 2015 SkinTE

Patent Application; other relevant patent applications related to the November 2015 SkinTE

Patent Application; Lough’s papers describing the data and science behind the product;

PolarityTE’s SEC filings and presentations; and FDA guidance demonstrated that the SkinTE

product did not meet, and could not possibly have met, the requirements for regulation solely

under Section 361.     The author observed that the SkinTE product: (1) is not minimally

manipulated and (2) its manufacture entailed a combination with other products. Defendants,

having access to all the relevant information, could not have reasonably concluded that SkinTE

could meet the requirements for regulation solely under Section 361.

       119.    On July 23, 2018, Ozgur Ogut published an article titled, “SkinTE and the FDA’s

361 Pathway” further exposing the fact that the SkinTE product did not meet regulation under

Section 361, because the product – in addition to not meeting the “minimally manipulated” and

“not combined with another article” prongs – also did not meet the “homologous use” prong.

       120.    Following disclosures in the Seeking Alpha and the Ozgur Ogut articles,

PolarityTE’s share price fell $2.54, or 12.41%, over the following two trading sessions, to close

at $17.93 on July 23, 2018.

       121.    On September 7, 2018, the SEC filed a complaint in the U.S. District Court for

the Southern District of New York (SEC v. Honig et al., No. 1:18-cv-01875 (S.D.N.Y. 2018))

against a nefarious group of stock promoters that allegedly included Defendant Stetson, the

Company’s former Chief Financial Officer and Chief Investment Officer, along with Honig, and

Brauser. The complaint alleged that the group manipulated the price of securities of three public


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companies.

       122.    On this news, PolarityTE’s share price fell $3.92, or 16.03%, to close at $20.54 on

September 7, 2018.

       123.    On September 25, 2018, The Capitol Forum published an article with the

headline, “PolarityTE: FDA Form 483 Raises Issues with SkinTE Processing and Operations.”

The content available to the non-subscribing public stated: “The FDA has identified issues at

PolarityTE’s (PTE) SkinTE facility that may violate the Food Drug and Cosmetic Act, according

to a Form 483 that was issued to PolarityTE after the FDA conducted an inspection of the facility

between July 9 and 13, 2018.”

       124.    Following this news headline from The Capitol Forum, PolarityTE’s share price

fell $2.90, or 12.87%, over a two-day decline, to close at $18.95 on September 26, 2018.

       125.    On October 18, 2018, Citron Research published a report titled: “PolarityTE: This

Game Is Over! Price Target - $2 The FDA Has Spoken!”               In addition to reporting that

PolarityTE received a Form 483, Citron Research included a link to the actual Form 483 which

detailed the eight FDA observations of violations of FDA regulations.

       126.    Following the report on October 18, PolarityTE’s share price fell $2.49, or

17.05%, to close at $12.11 on October 18, 2018. The price impact of the corrective disclosure

was lessened by PolarityTE’s response in a press release denying the conclusions Citron

Research reached.

       127.    On March 18, 2019, PolarityTE filed a Form 10-KT, which disclosed for the first

time that the Company was being investigated for securities fraud, stating:

       In October 2018, we received a document request and inquiries from the SEC
       relating to subjects addressed in the short seller reports and cooperated fully by
       providing the SEC with all information relevant to their requests. On March 1,
       2019, we received a subpoena from the SEC requesting additional documents
       related to, among other things, (i) communications and agreements between us
       and, among others, John Stetson, Barry Honig and Michael Brauser, (ii) the
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       transaction pursuant to which Majesco Entertainment Company acquired
       PolarityTE NV and our current regenerative medicine business, (iii) the
       performance of and communications with regulators regarding SkinTE, our lead
       product, and (iv) any promotion of the Company or its securities. On March 4,
       2019, we obtained from the SEC a copy of the formal order of investigation of the
       Company and its affiliates with respect to possible violations of the federal
       securities laws, including, among other things, the anti-fraud provisions of the
       Securities Act and the Exchange Act with respect to the Company’s public
       disclosures, the beneficial ownership reporting provisions of the Exchange Act
       and the anti-price manipulation provisions of the Exchange Act. We intend to
       fully cooperate with the SEC regarding their March 2019 subpoena and this
       ongoing investigation.

       128.    Following the disclosure in March 18, 2019 10-KT, PolarityTE’s stock price fell

$3.39, or 21.91%, over a three-day decline, to close at $12.08, on March 20, 2019.

       129.    As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s common shares, Plaintiff and other Class members

have suffered significant losses and damages.

VI.    ADDITIONAL SCIENTER ALLEGATIONS

       A.      PolarityTE Was Designed As A Vehicle For A Pump And Dump Securities
               Fraud

               1.     The SEC Charges A Cast of Characters Involved In The
                      PolarityTE-Majesco Reverse-Merger With Orchestrating
                      Pump And Dump Schemes In Three Unrelated Companies

        130. On September 7, 2018, the SEC filed a complaint (the “SEC Complaint”)

charging a group of individuals and associated entities with violations of federal securities laws

for their participation in a long-running fraudulent scheme involving three entities. On March 8,

2019, the SEC filed an amended complaint (the “SEC Amended Complaint”, together with the

“SEC Complaint”, are hereinafter the “SEC Complaints”). According to the SEC complaints,

from 2013 to 2018, a group of “prolific fraudsters” manipulated the share price of the stock of

three companies in classic pump-and-dump schemes.

       131.    Honig was the “primary strategist” of the schemes that were “orchestrated” with


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Defendant Stetson and Messrs. Brauser, Phillip Frost (“Frost”), and Mark Groussman

(“Groussman”) along with various others (“Honig and his associates”) to acquire large quantities

of the issuer’s stock at steep discounts, either via reverse mergers or participating in financings

on terms highly unfavorable to the company at issue.

       132.    After the acquisition, Honig, and some combination his associates, either

explicitly or tacitly agreed to buy, hold or sell their shares in coordination, knowing that they

would orchestrate a pump and dump of the stock in the near future which would allow them to

profit. Once the group had acquired substantial ownership of the issuer, they acted as an

undisclosed control group, directed the management which included orchestrating transactions

designed to create market interest, and arranged for the promotion of the stock by directing

favorable and misleading articles about the company intended to inflate the stock price. The

SEC Amended Complaint went into great detail regarding Defendant Stetson’s role in

coordinating the posting of favorable and misleading articles. The SEC Amended Complaint

also noted that Honig and his associates, either individually or through their entities, invested

alongside one another in at least 19 issuers from 2011 to the present, engaging in the same

fraudulent practices.

       133.    In connection with the schemes, Honig and his associates violated beneficial

ownership reporting requirements of federal securities laws by failing to disclose their group

beneficial ownerships and the fact that as a group, they intended to control the issuers. All told,

in connection with the fraudulent actions involving the three entities in the SEC Complaints, the

schemes profited Honig and his associates to the tune of more than $27 million and left public

investors in these companies holding virtually worthless stock. A review of PolarityTE’s

formation and background demonstrates that Honig and his associates sought to structure

PolarityTE in the same fashion as their other companies discussed in the SEC Complaints.


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               2.     Honig And His Associates Invest In Majesco And Orchestrate
                      Stock Maneuvers To Profit From The Failing Company

       134.    PolarityTE is the latest iteration of a public company that has managed to morph

into six seemly unrelated different companies:          SMD Group, Inc., CDBeat.com,Inc.,

Spinrocker.com, Inc.; ConnectivCorp; and Majesco.

       135.    Honig, Brauser, Groussman and Frost became involved in Majesco when they

acquired, in concert, more than 80% of the common stock of preferred stock (taking into account

subsequent reverse splits and warrants) issued by Majesco in December 17, 2014 and May 15,

2015 private placements, which amounted to $11 million. Majesco was a developer, publisher,

and distributor of entertainment for video game consoles.

       136.    On October 2, 2015, Majesco announced that on September 25, 2015 the board of

directors had increased its size and appointed Honig and Brauser as new members. The board of

directors also announced that it had appointed Honig to serve as Chairman and Chief Executive

Officer, and appointed Defendant Stetson to serve as Chief Financial Officer, Executive Vice

President and Secretary. Brauser was appointed as Co-Chairman of the Board of Directors.

       137.    In connection with the October 5, 2015 announcement, Honig stated, “With

Majesco's further enhanced strong balance sheet and reduced cost structure, I believe now is an

opportune time to lead the Company with total focus on creating value for shareholders.”

       138.    Nevertheless, according to Majesco’s Form 10-K for the fiscal year ended

October 31, 2015, which was filed on January 29, 2016, its revenues had fallen by 80%. In its

filing, Majesco further disclosed, “We are currently not developing any significant new packaged

games for release in fiscal 2016 and our objectives include…the potential merger with or

acquisition of a new business in a similar or different industry from our current and historical

operations, although no business or industry has been determined to be an attractive candidate.”

       139.    The January 29, 2016 10-K’s risk disclosures stated that, among others, “Our
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review of our strategic alternatives may result in a complete transformation of our Company . . . ;

Our financial resources are limited and we will need to raise additional capital in the future to

continue our business; We have experienced recent net losses and we may incur future net losses,

which may cause a decrease in our stock price.”

       140.    Yet despite this grim financial outlook, on January 6, 2016 the board of directors

authorized a special dividend. In the announcement, Honing stated, “This special dividend is

another step in returning value to shareholders. We will continue to explore options for

delivering value with our low overhead and cash position.”

       141.    A January 5, 2016 Form 8-K filing shows that Majesco paid $10 million in

special dividends to holders of its common stock and preferred stock; $6 million of that going to

holders of preferred stock. The cash was distributed in January 2015. Therefore, Honig, Frost,

Brauser and Grossman received back over half of their original December 2014 and May

2015 investments in Majeco stock and got to keep their shares. They also held most of that

stock when Majesco agreed to acquire PolarityTE.

       142.    All the while, Majesco continued to falter as a business as it reported $1 million in

revenue for the first half of 2016, down from $5.2 million in the same period of 2015; and it

reported net losses of $7.7 million, up from $5 million in the same period of 2015. Through the

rest of 2016, Majesco engaged in placements which included warrants and 1-6 reverse stock

splits which greatly benefitted Honig, Frost, Brauser and Groussman. A Form S-3 filed by

PolarityTE with the SEC on August 3, 2016 shows that Honig and his associates controlled 3.7

million shares in the month leading up to the PolarityTE deal; almost two-thirds of the

company’s stock on a fully diluted basis. Majesco continued to falter, with just $315,000 in

revenue for the three months that ended in July 31, 2016 down from $1.1 million a year earlier,

yet Honig and his associates continued to profit.


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               3.     The Majesco-PolarityTE Merger

       143.    On December 7, 2016, Majesco filed a Form 8-K disclosing that on December 1,

2016 it had entered into an Agreement and Plan of Reorganization with Majesco Acquisition

Corp., a Nevada corporation and wholly-owned subsidiary of Majesco, and PolarityTE, with

Defendant Lough the owner of 100% of the issued and outstanding shares of capital stock.

       144.    On December 8, 2016, Majesco appointed Defendant Lough as Chief Executive

Officer and Chairman of the Board, Swanson as Chief Operating Officer and Director and

Defendant Stetson as Executive Vice President. Defendant Lough thanked Honig and Frost “for

their confidence” in them.

       145.    The Agreement took the form of a reverse merger – much like the other

companies that preceded PolarityTE – which involved the acquisition of a public company

(Majesco) by a private company (PolarityTE) so that the private company could bypass the

lengthy and complex process of going public. Whereas Majesco, in its latest iteration, was by all

measures a 31-year-old failing company focused on video game publishing, PolarityTE

described itself as a company “revolutionizing regenerative medicine and inducing a paradigm

shift” through an “innovative platform technology.”

       146.    Typically, when a reverse merger entails a company becoming publicly-traded on

the NASDAQ, there is a concrete basis and understanding as to what is behind the potential

value generation of the company that has bypassed the complex process of going public.

Generally, this concrete basis comes in the form of physical assets or a strong intellectual

property portfolio.   Such was not the case with PolarityTE, although as described herein,

PolarityTE’s various false and misleading statements obfuscated this fact.

       147.    As Defendant Lough described in correspondence with the SEC on February 22,

2017, his November 2015 SkinTE Patent Application was the key asset exchanged through the


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reverse merger (emphasis supplied): “There was never any intent to acquire an ongoing business

and no ongoing business was acquired. The asset is preserved in a stand-alone entity merely as

a vehicle to provide the Company a seamless means to acquire the asset (a patent application)

without undue cost, expense and time.”

                4.      The Involvement Of Frost, Honig And Stetson In PolarityTE

        148.    By the Defendant Lough and Swanson’s own admissions, there was no

meaningful due diligence conducted between PolarityTE and Majesco. Defendant Lough and

Swanson were plastic surgery residents at Johns Hopkins University Hospital when they decided

to leave their respective residencies to form PolarityTE.

        149.    Defendant Lough alleges to have met with various venture capitalists, and to have

received term sheet offers, but resisted from entering into any agreement because the venture

capitalists wanted control, the majority of equity and were unwilling to put up the financing that

Defendant Lough felt was needed to successfully launch the venture. Swanson decided to call

Defendant Stetson, an old friend from college, to help him fine-tune their pitch. Defendant

Stetson told Swanson that he worked closely with Frost and he thought that Frost would be

interested in hearing their pitch.

        150.    By Defendant Lough’s own telling, “Frost and Honig dropped a term sheet on us

24 hours after initiating discussions — a welcomed pace after enduring multiple rounds of VC

due diligence that takes 4-5 months before anyone puts numbers in writing. Because of their vast

experience in biotech, they quickly understood the potential value of our technology.”

        151.    Aside from the equity and control benefits that the deal structure provided, when

asked what was so attractive about this structure, Swanson said, “This deal immediately allowed

us to put our money where our mouth was.” He added, “After pursuing multiple deal structures

with private investors, debating our valuation became tiring, which in the private markets in a


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pre-revenue pre-clinical biotech company is almost entirely imaginary.” Of the last 50 biotech

startups, only about 14% launched without funding from venture capital firms, and PolarityTE

was one of only four life science firms that went public immediately without an Initial Public

Offering.

       152.    While the public merger model used by Honig and his associates lowers the cost

of capital for biotech founders and inventors, it is also very profitable for early investors like

Frost and Honig. Based upon analysis of five other public reverse merger deals they have

executed within the biotech industry since 2014, their average annual return is more than 175%.

               5.      Honig And Frost Dealings Regarding PolarityTE Stock Mirror
                       The Schemes Outlined In the SEC Complaint And Are
                       Indicative Of A Classic Pump And Dump Scheme

       153.    By mid-2015, Honig, Brauser, Frost and Groussman owned more than 20% of

Majesco’s outstanding common shares; this excludes millions of additional shares issuable upon

conversion of preferred stock held. Honig, Brauser and Frost were the biggest holders of

Majesco preferred stock prior to the Merger. They ranked second third and fourth after the

Merger; with Groussman coming in at fifth.

       154.    In March 2017, Honig filed an amended Form 13D which listed his holdings at

10.7% of PolarityTE’s outstanding shares.

       155.    On April 7, 2017, PolarityTE announced the Merger through which the Company

purchased Defendant Lough’s November 2015 SkinTE Patent Application in exchange for over

$104 million of PolarityTE stock. In connection with the closing of the Merger, on April 5,

2017, the Company issued Defendant Lough 7,050 shares of Series E Convertible Preferred

Stock (the “Series E Shares”) which are convertible into an aggregate of 7,050,000 shares of the

Company’s common stock or 40.95% of the Company’s then-issued and outstanding common

stock on a fully diluted basis.


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       156.    In a Form 8-K filed on April 7, 2017 announcing the Merger, PolarityTE stated

(emphasis supplied):    “As a result of the Merger Polarityte NV became a wholly owned

subsidiary of the Company. Polarity[te] NV is the owner of a novel regenerative medicine and

tissue engineering platform developed and patented by Dr. Lough.”

       157.    On June 9, 2017, PolarityTE filed a Form 10-Q Report with the SEC for the

period ended April 30, 2017 stating that holders of its Series A, B, C and D preferred stock

converted portions of each series, receiving 971,860 common shares. Meanwhile, PolarityTE

stock kept climbing and reached $30 per share on June 26, 2017.

       158.    On July 10, 2017 the Company filed a mixed shelf registration statement for the

offering of up to $100 million worth of securities in the form of common stock, preferred stock,

warrants, or a combination of these from time to time, in one or more transactions.

       159.    However, the stock did not rally for long, as it closed at a little under $20 on

August 1, 2017. It was then, on August 8, 2017, that an article written by board member Jeff

Dyer was published by Forbes titled “PolarityTE: Will This Biotech Be the Next Amazon or

Tesla?” As the title indicates, Dyer chronicled the Company as the next breakthrough in the

biotechnology field, attracting the interest and involvement of one the world’s best biotech

investors:

       PolarityTE’s technology — if it works — will be extremely disruptive to
       incumbents . . . Despite the promise of PolarityTE’s technology, Lough and
       Swanson would likely never have resigned from Hopkins to pursue the venture
       without an innovative financing model . . . Enter billionaire investor Philip Frost
       and his investment team. In the biotech sector, and especially in small cap
       ventures, there is no bigger name than Dr. Philip Frost. Across a career spanning
       over 40 years, Frost has built a net worth over 4 billion dollars, the vast majority
       of which derives from founding, buying, selling, and investing in biotechnology
       companies.

       160.    Although the article disclosed that Dyer was a board member, what was not

disclosed was that the Company had granted him options to buy 141,000 shares at an exercise


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price of $3.12 a share, and that he stood to profit from any increase in the stock. The article

worked – the stock price rose more than 25% in the week that followed and on the last day of

August, it reached a new high of $32.63 while closing at $29.09. Unsurprisingly, Dyer filed an

S-8 on August 17, 2017 with the SEC to sell 93% of his holdings in PolarityTE. Dyer had known

beforehand from communications with his editor at Forbes that the article would be published in

August, and he used this knowledge to inflate the stock price and turn a huge profit for himself.

       161.    The article piqued the interest of the SEC, which questioned whether it

constituted “gun jumping” since the company had a pending registration. While PolarityTE

acknowledged in a letter to the SEC that Dyer had exchanged multiple drafts of the article with

Defendant Lough and Swanson, the Company maintained that the piece was similar to others

that had been published about the Company in the ordinary course of business. It is worth noting

that the inquiry was handled by-then PolarityTE’s attorney (and previously Majesco’s attorney)

Harvey J. Kesner. Kesner retired and left his firm abruptly after the SEC Complaint was filed

which featured various companies (linked to Honig) which he represented as counsel.

       162.     Right after the publishing of the article, between September and mid-December

2017, PolarityTE’s definitive 2017 proxy filing showed a decrease of 609,000 shares listed for

Honig. Even after these sales, Honig remained PolarityTE’s second biggest shareholder and a

March 2018 SEC filing showed he still had 1.75 million shares.

       163.     On September 21, 2017, PolarityTE announced the closing of $17.75 million of

Series F Convertible Preferred Stock. The preferred stock is convertible into the Company’s

common stock at a conversion price of $27.50 per share and the investor shall receive one half

warrant exercisable at $30.00 per share. On September 21, 2017 the Company’s stock was

trading at $26.50 per share.




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       164.     The September 21, 2017 announcement called the preferred stock “Above

Market” since the conversion price on the preferred stock and exercise price on the warrants was

above the market price at $27.50 and $30 respectively. This made it seem like the preferreds

were an underpinning of value at $27. However, the opposite is actually true. The preferreds

were full ratchet, meaning if the Company sells stock for a lower price in the future, the

conversion price of the preferreds changes to that price and the warrant exercise price changes to

110% of that price. Therefore, with all of these price protection terms, the buyers of the

preferreds and warrants had almost no risk, compared to the risk of investors who buy the stock

on the open market.

       165.     On April 17, 2018 PolarityTE issued a press release announcing the close of its

public offering of 2,031,250 shares of common stock, plus an additional 304,687 shares sold

upon full exercise of the underwriter’s option. Net proceeds to the Company from the offering

were approximately $34.2 million.

       166.     As discussed in more detail infra ¶¶ 205-211, PolarityTE’s leading product

received a Final Rejection of its filed patent application on June 4, 2018 – the same day that

PolarityTE announced yet another public offering. On June 5, 2018, PolarityTE announced a

pricing at $55 million which closed on June 7, 2018, but made no mention of the Final Rejection.

Just a week earlier, on May 29, 2018, PolarityTE filed an S-8 with the SEC, covering the sale of

7.3 million shares, worth upwards $190 million held by current and former officers, directors and

insiders including Honig, Stetson and Brauser. Also, as discussed in more detail infra ¶¶ 205-

211, PolarityTE did not disclose the Final Rejection of its filed patent application when it found

out, in the middle of the public offering. PolarityTE stock hit a high of $41.22 on June 21

(closing at $38.97), and SEC filings show that Honig and Frost sold $19-$23 million worth of

stock; some between June and August, when the stock was taking off and some in the fall and


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winter. All told, Honig and Frost sold more than $20 million of their PolarityTE stock between

February 2017 and February 2018 – most coming in the second half of 2017. Honig failed to

report sales as required under Regulation 13D; one of the same strategies detailed by the SEC

Complaints as used by Honig and his associates to conceal their acting in concert. In fact, Honig

ended up switching his status from a 13D filer to 13G filer – contending that because he would

not hold shares for control, he did not have to report them. However, PolarityTE’s proxy filing

of August 2018 showed that Honig, Frost, Groussman, Stetson and Brauser still controlled 4.5

million shares.

       167.       Furthermore, supposed independent directors of PolarityTE had undisclosed ties

to Honig. For example, PolarityTE board members Steve Gorlin and Jon Mogford, were board

members at Medovex Corp. Gorlin was the founder of Medovex Corp – a medical products

company to which Honig, Stetson, and Groussman provided funding.

       168.       On September 7, 2018, after the SEC Complaint was filed against Honig and his

associates (including Defendant Stetson), PolarityTE issued a press release announcing that the

Company had terminated Stetson and added, “None of the other defendants listed in the

complaint filed by the SEC has any recent management, employment, or consulting relationship

with the Company, nor will there be any such relationship in the future.” Defendants have not

addressed the various stock maneuvers by Honig and his associates in PolarityTE and Majesco

and have claimed no knowledge of the activities at issue in the SEC Complaints.

       169.       In an SEC filing on October 2018, Defendant Stetson reported that he had sold

$5.5 million worth of PolarityTE stock. SEC filings also show that Groussman sold 121,000

shares in the past year. All told, Stetson Honig, Groussman and Frost appear to have sold over

$30 million in PolarityTE stock over the last year. Meanwhile, PolarityTE’s 4Q and Fiscal Year

2018 results show, that in the past two fiscal years, the Company reported net revenues


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amounting to $1.563 million while reporting losses amounting to over $200 million. While Frost

reported in an SEC filing on January 2019 that he no longer owns stock in PolarityTE, SEC

filings show that Honig and Brauser still hold 7% each of the stock outstanding which is more

than that held by Swanson (around 4%). Frost settled with the SEC in December 2018, and

Grossman settled in February of 2019.

                 6.     The SEC launches An Investigation Into PolarityTE

          170.   In October 2018, PolarityTE received a document request and inquiries from the

SEC relating to subjects addressed in the short seller reports published by Citron Research and

others.

          171.   On March 1, 2019, Polarity received a subpoena from the SEC requesting

additional documents related to, among other things, “(i) communications and agreements

between us and, among others, Stetson, Honig and Brauser, (ii) the transaction pursuant to which

Majesco Entertainment Company acquired PolarityTE NV and [PolarityTE’s] current

regenerative medicine business, (iii) the performance of and communications with regulators

regarding SkinTE, our lead product, and (iv) any promotion of the Company or its securities.”

          172.   On March 4, 2019, PolarityTE obtained from the SEC a copy of the formal order

of investigation of the Company and its affiliates concerning possible violations of the federal

securities laws, including, among other things, the anti-fraud provisions of the Securities Act and

the Exchange Act with respect to the Company’s public disclosures, the beneficial ownership

reporting provisions of the Exchange Act and the anti-price manipulation provisions of the

Exchange Act.

          173.   On March 8, 2019, the SEC amended its original complaint as discussed supra at

¶¶ 130-133, to allege that the defendants violated the anti-fraud and other provisions of the

Securities Act, the Exchange Act and SEC rules promulgated thereunder by writing, or causing


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to be written, false or misleading promotional articles, engaging in a variety of other

manipulative trading practices as well as filing false reports of their beneficial ownership or

failure to file reports of their beneficial ownership when required to do so.

       174.    On March 15, 2019, PolarityTE filed a Form 10-K with the SEC, which was

required because PolarityTE changed the end of its fiscal year to December 31. In the March 15,

2019 filing, PolarityTE revealed that the Company was under investigation by the SEC in

connection with possible violations of the federal securities laws, including, among other things,

the anti-fraud provisions of the Securities Act and the Exchange Act with respect to the

Company’s public disclosures, the beneficial ownership reporting provisions of the Exchange

Act and the anti-price manipulation provisions of the Exchange Act.

       175.    At the time of this filing, the SEC investigation remains ongoing.

       B.      Defendants Knew The SkinTE Patent Application Received Non-Final And
               Final Rejection From The FDA But Failed To Disclose The Information

       176.    On March 31, 2017, the USPTO posted its non-final rejection of PolarityTE’s

November 2015 SkinTE Patent Application to a website available to Defendants.

       177.    Defendants thus either knew, or recklessly disregarded, the fact that PolarityTE’s

patent application had been preliminarily, and then finally, rejected when making false

statements of fact to investors.

               1.      How The USPTO Determines Patentability

       178.    The USPTO is an agency of the U.S. Department of Commerce charged with the

role of granting patents for the protection of inventions and to register trademarks.

       179.    An examiner of the USPTO will review the contents of a patent application to

determine if the application meets the requirements of 35 U.S.C. § 111(a) and § 112(a), a written

specification containing a description of the invention and particularly pointing out and distinctly

claiming the subject matter which the inventor regards as the invention.
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       180.    An examiner may reject the patent application if it fails to meet the “obviousness”

test of 35 U.S.C. § 103 – if the differences between the claimed invention and prior ones are

such that the claimed invention as a whole would have been obvious, then the claimed invention

is rejected due to “obviousness.”

       181.    If an examiner rejects a patent application, the USPTO will issue a Non-Final

Rejection and the applicant is given the opportunity to make amendments or argue against the

examiner's objections.

       182.    A Final Rejection is typically issued during second or subsequent examinations of

the pending patent application and will also explain the reasons for the rejection.

       183.    The Final Rejection is intended to close prosecution of the pending patent

application. An applicant whose patent application has been rejected may appeal the decision.

               2.        The USPTO Process For Communicating Agency Actions

       184.    The Patent Application Information Retrieval (“PAIR”) is the USPTO’s web-

based means of electronically viewing the status of patent applications.

       185.    Public PAIR provides access to status and history information for issued patents

and published applications. In a published application’s PAIR page, the USPTO posts all actions

taken, and related dates, with respect to the application.

       186.    Private PAIR provides access to non-public patent information, as well as all

public information. Private PAIR allows those who register the ability to access real time status

information, application documents and transaction history for their pending patent applications.

       187.    Entities and individuals with access to Private PAIR typically sign up for the e-

Office Action Program which is designed to notify applicants, via email, that a USPTO

communication is available for viewing and downloading in Private PAIR.




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       188.    Typically, entities that have a patent application pending and have opted for

Private PAIR and the e-Office Action Program will register their patent attorneys and Chief

Technology Officers and/or those in charge of their intellectual property. Most entities with

patent applications register for Private PAIR and the e-Office Action Program.

       189.    The method by which an applicant is notified of Non-Final and Final Rejections

(via mail, email or both) depends on whether the applicant has registered for Private PAIR and

the e-Office Action Program.

               3.     PolarityTE’s Statements Regarding The SkinTE Patent
                      Application Made Before The Class Period

       190.    On November 30, 2015, Defendant Lough filed a U.S. Patent Application,

Application No. 14/954,335 referred to herein as the November 2015 SkinTE Patent

Application.    The November 2015 SkinTE Patent Application publication described the

technology as “methods for development and use of minimally polarized function cell micro-

aggregate units in tissue applications using LGR4, LGR5 and LGR6 expressing epithelial stem

cells.” The November 2015 SkinTE Patent Application is – up until the time of this filing – an

application and not an issued patent, despite misleading and contradictory statements issued by

PolarityTE.

       191.    Despite the fact that PolarityTE only had a patent application, in a December 7,

2016 Form 8-K, and in a December 8, 2016 press release announcing the Agreement, PolarityTE

falsely stated that it was “the owner of a novel regenerative medicine and tissue engineering

platform developed and patented by Denver Lough, MD, PhD.” (Emphasis supplied.)

       192.    In a January 10, 2017 press release announcing its name change from Majesco to

PolarityTE, PolarityTE stated that it was “the owner of patent applications.” (Emphasis

supplied.) In fact, PolarityTE was the owner of only one patent application.



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       193.    In a January 30, 2017 SEC Form S-1, PolarityTE once again stated that it was

“the owner of patent applications.” (Emphasis supplied).

       194.    However, on February 9 and 16, 2017 press releases, PolarityTE once again

falsely stated that, “PolarityTE, Inc. is the owner of a novel regenerative medicine and tissue

engineering platform developed and patented by Denver Lough MD, PhD.” (Emphasis

supplied).

       195.    In a February 22, 2017 letter to the SEC regarding PolarityTE’s Registration

Statement on Form S-1, PolarityTE reverted to calling the November 2015 SkinTE Patent

Application an application and not “patented.” The letter stated, “Dr. Lough is the named

inventor under a pending patent application…the Company is seeking to acquire the pending

patent application.”

       196.    However, in March 8, and 13, 2017 press releases, PolarityTE once again falsely

stated that, “PolarityTE, Inc. is the owner of a novel regenerative medicine and tissue

engineering platform developed and patented by Denver Lough MD, PhD.” (Emphasis

supplied).

               4.      PolarityTE Receives A Non-Final Rejection Of The November
                       2015 SkinTEPatent Application

        197. The November 2015 SkinTE Patent Application’s Public PAIR page states that on

March 31, 2017 the USPTO issued and posted its decision to render a Non-Final Rejection of the

patent application.

       198.    The PAIR page also shows that on April 7, 2017, the same day that the Merger

closed, the USPTO also mailed the Non-Final Rejection.




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       199.    As discussed on ¶¶ 185-188, most entities would have registered for Private PAIR

and the e-Office Action program and would have received real time, same business day

notification of the Non-Final Rejection of patent application.

       200.    A patent application is rejected if the examiner determines that the invention does

not comply with 35 U.S.C. § 103; §111(a) (requirement for adequate description); or § 112(a)

(considered “obvious”).

       201.    The USPTO arrived at these determinations with respect to the November 2015

SkinTE Patent Application, finding that the specification provided did not adequately describe

the subject matter and finding the alleged invention to be “obvious.”

       202.    As previously mentioned, on April 7, 2017, PolarityTE filed a Form 8-K

announcing the Merger. The Form 8-K also stated (emphasis supplied): “Polarity[te] NV is the

owner of a novel regenerative medicine and tissue engineering platform developed and

patented by Dr. Lough.”

       203.    On April 14, 2017, the SEC sent a letter to PolarityTE regarding the Company’s

preliminary proxy statement on Schedule 14A which was filed on February 6, 2017. The SEC

informed the Company that it had completed its review of the filing and added (emphasis



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supplied): “We remind you that the company and its management are responsible for the

accuracy and adequacy of their disclosures…”

       204.    Subsequent to receiving the Non-Final Rejection, PolarityTE issued various

statements respecting the November 2015 SkinTE Patent Application, patents generally, as well

as statements discussing intellectual property risks in generic terms, while never disclosing the

Non-Final Rejection for its leading product and its only asset at the time.

               5.      PolarityTE Receives A Final Rejection Of The November 2015
                       SkinTE Patent Application Before Raising Cash

       205.    On May 29, 2018, the Company filed an S-8 registration with the SEC, which

allowed management and promoters to sell hundreds of millions of dollars of common stock.

       206.    On June 4, 2018, PolarityTE announced an offering of 2.1 million shares priced at

$25.50 per share.

       207.    The November 2015 SkinTE Patent Application’s Public PAIR page states that on

June 4, 2018 the USPTO issued and posted its decision to render a Final Rejection of the patent

application.




       208.    The November 2015 SkinTE Patent Application was rejected under 35 U.S.C. §

103. The USPTO issued the Final Rejection after concluding, that even after PolarityTE’s

amendments, the claimed invention “as a whole would have been obvious before the effective

filing date.” The Final Rejection letter concluded (emphasis in original): “No claim is allowed.


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Applicant’s amendment necessitated the new ground(s) of rejection presented in this Office

action. Accordingly, THIS ACTION IS MADE FINAL.”

        209.   A rejection is intended by the USPTO to close prosecution of the pending patent

application. According to a Yale study, less than 10% of patent applications that receive a Final

Rejection subsequently get issued. Additionally, Evercore ISI, which recently initiated coverage

on PolarityTE also noted that roughly 10% of applications with Final Rejections ultimately get

approval.

        210.   On June 5, 2018, PolarityTE issued a press release announcing the pricing of the

underwritten public follow-on offering of approximately $55 million of shares of its common

stock. While the press release touted PolarityTE’s “platform technology” no mention was made

of the fact that the USPTO had issued a Final Rejection of the November 2015 SkinTE Patent

Application – the Company’s signature technology which is purported to form the basis for their

“platform technology” and PolarityTE’s commercial success.

        211.   Subsequent to receiving the Final Rejection, PolarityTE issued various statements

discussing intellectual property risks in generic terms, while never disclosing the Final Rejection

for its leading product.

        C.     Defendants Knew About But Failed To Disclose Receipt Of An FDA Form 483

               1.      The FDA Inspection Process And The Purpose Of FDA Form
                       483

        212.   If an establishment manufactures human cells, tissues, and cellular and tissue-

based products (HCT/Ps) (as discussed below, SkinTE is an HCT/P) the establishment must

permit the FDA to inspect any manufacturing location to determine compliance with the

provisions of Part 1271.

        213.   Investigators note facts that, in their judgment, constitute violations of FDA

standards. A Form 483 is intended for use in notifying the inspected establishment’s top
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management in writing of significant objectionable conditions, relating to products and/or

processes, or other violations of the FD&C Act and related Acts which were observed during the

inspection.

       214.    The FDA instructs its investigators that all observations recorded in a Form 483

should be significant and correlate to regulated products or processes being inspected.

       215.    At the end of the inspection process, FDA investigators must present a hard copy

of the Form 483 to the highest-ranking “owner, operator or agent in charge.”

               2.     Section 361 HCT/Ps Must Comply With Current Good Tissue
                      Practices (“cGTPs”)

       216.    Subpart D of Part 1271 sets forth cGTP requirements which govern the methods

used in, and the facilities and controls used for, the manufacture of HCT/Ps.

       217.    Establishment and Maintenance of a Quality Program.              Part 1271.60. An

organization’s quality program must ensure that the establishment complies with the

requirements for procedures relating to core cGTP requirements, must ensure appropriate

corrective actions, proper documentation and appropriate monitoring systems as necessary.

       218.    Procedures. Part 1271.80. The HCT/Ps manufacturing facility must establish and

maintain procedures appropriate to meet core cGTP requirements for all steps that are performed

in the manufacture of HCT/Ps.

       219.    Facilities. Part 1271.190. Any facility used in the manufacture of HCT/Ps must

be of suitable size, construction, and location to prevent contamination of HCT/Ps.

       220.    Environmental Controls and Monitoring. Part 1271.195. Where environmental

conditions could reasonably be expected to cause contamination or cross-contamination of

HCT/Ps or equipment, there must be adequate control of environmental conditions and proper

conditions for operations.



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              3.     PolarityTE’s Failure To Comply With FDA Regulations

                     a) SkinTE Was Required To Comply With Current Good Tissue
                        Practices (cGTPs) And Was Subject To FDA Inspections

       221.   Because, as discussed infra ¶¶ 244-245, PolarityTE registered SkinTE as an

HCT/P under Section 361, SkinTE and PolarityTE’s facilities used in the manufacture of

SkinTE, were required to comply with Subpart D of Part 1271.

       222.   PolarityTE’s 2017 10-K demonstrates that the Company understood that it needed

to comply with cGTP requirements (emphasis supplied): “Products that qualify as 361

HCT/Ps…are subject to postmarket regulatory requirements such as compliance with current

good tissue practices (cGTP)…and post-market inspections by the FDA.”

       223.   PolarityTE also understood that it was subject to inspections by the FDA. As

stated in the Company’s 2017 10-K (emphasis supplied): “FDA inspection and enforcement

with respect to establishments described in 21 C.F.R. § 1271 includes inspections

conducted…”

       224.   Furthermore, PolarityTE also understood that if it failed to comply with FDA

regulations, which encompassed compliance with cGTPs, it would be subject to enforcement

action (emphasis supplied):   “If we fail to comply with the FDA regulations and laws

applicable to our operation or tissue products, the FDA could take enforcement action…”

                     b) The FDA Form 483 Issued To PolarityTE Demonstrates That The
                        Company Failed To Comply With cGTPs And FDA Regulations

       225.   In July 2018, FDA inspectors conducted an examination of PolarityTE’s Salt

Lake establishment where the SkinTE product was manufactured. The inspection took place

between July 9 and July 13, 2018.




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       226.   On July 13, 2018, at the conclusion of the inspection, an FDA Form 483 was

issued to PolarityTE’s Director of Quality, Andrew D. West, and the observations therein were

discussed with him.

       227.   PolarityTE’s complete lack of controls in the manufacturing of the SkinTE

product resulted in eight separate observed violations of FCA regulations respecting compliance

with cGTPs.

       228.   Specifically, Observation 1 found (emphasis supplied):

       There are no written procedures for production and process controls…

       Your firm has not performed and documented quantitative data that validates
       your process for SkinTE product…

       Your Director of Quality has stated the process “is more of an art than a
       science”.

       229.   The violations denoted in Observation 1 are violations of Part 1271.80, which

requires establishments to maintain procedures appropriate to meet core cGTP requirements for

all steps performed in the manufacture of the HCT/Ps.

       230.   Specifically, Observation 2 found (emphasis supplied):

       Buildings used in the manufacture, processing, packing, or holding of a drug
       product do not have the suitable construction to facilitate cleaning,
       maintenance, and proper operations.

       Specifically, clean room is not adequately designed and built…

       I observed processing of SkinTE product…the processing room was in use
       without positive pressure…

       The air handlers controlling air temperature and humidity in the plenum are
       designed only for recirculation without fresh air intake…

       231.   The violations denoted in Observation 2 are violations of Part 1271.190, which

requires that any facility used in the manufacture of HCT/Ps be of suitable of size, construction

and location to prevent contamination. Additionally, the violations denoted in Observation 2 are


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violations of Part 1271.195(a)(1) and (a)(2), which require adequate environmental controls

respecting temperature and humidity and ventilation and air filtration.

       232.    Specifically, Observation 3 found (emphasis supplied):

       Aseptic processing areas are deficient regarding the system for monitoring
       environmental conditions.

       Specifically, your firm does not adequately monitor the ISO 7 environment used
       as a processing room that houses hoods for handling SkinTE product.

       Also, your firm is not collecting air and surface samples within the ISO 7
       processing room on a routine basis and there is no written procedure for routine
       monitoring of the processing room…

       233.    The violations denoted in Observation 3 are violations of Part 1271.195, which

requires adequate environmental controls. Additionally, the violations denoted in Observation 3

are violations of Part 1271.80, which requires the establishment to establish and maintain

procedures appropriate to meet the core cGTP requirements.

       234.    Specifically, Observation 4 found (emphasis supplied):

       There is no written testing program designed to assess the stability
       characteristics of drug products.

       Specifically, the expiry of assigned to SkinTE products is not supported by
       adequately documented data.

       Additionally, data…related to the viability of cells in SkinTE does not include
       the following documentation to establish as pertinent to commercial product…

       235.    The violations denoted in Observation 4 are violations of Part 1271.180, which

requires establishments to maintain procedures appropriate to meet core cGTP requirements for

all steps performed in the manufacture of the HCT/Ps.

       236.    Specifically, Observation 5 found (emphasis supplied):

       The quality control unit lacks authority to fully investigate errors that have
       occurred.




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       Specifically, your firm does not have a written procedure to define or document
       an acceptable quantity, identity, or trend of bioburden within the SkinTE
       product, above/outside of which a deviation or investigation would be initiated.

       237.   The violations denoted in Observation 5 are violations of Part 1271.180, which

requires establishment and maintenance of a quality program designed to prevent, detect, and

correct deficiencies and ensure that the establishment complies with the requirements for

procedures relating to core cGTP requirements.

       238.   Specifically, Observation 6 found (emphasis supplied):

       Established laboratory control mechanisms are not followed and documented at
       the time of performance.

       Specifically, continuous or consistent temperature monitoring of microbial
       incubation samples for SkinTE product samples is not performed or
       documented…

       Additionally, your Director of Manufacturing Operations stated that differential
       pressures for the processing room where SkinTE product is handled inside, is
       not documented and there is no written procedure for such record….

       239.   The violations denoted in Observation 6 are violations of Part 1271.180, which

requires establishment and maintenance of a quality program designed to prevent, detect, and

correct deficiencies and ensure that the establishment complies with the requirements for

procedures relating to core cGTP requirements.        Additionally, the violations denoted in

Observation 6 are also violations of Part 1271.180, which requires establishments to maintain

procedures appropriate to meet core cGTP requirements for all steps performed in the

manufacture of the HCT/Ps.

       240.   Specifically, Observation 7 found (emphasis supplied):

       Aseptic processing areas are deficient regarding the system for cleaning and
       disinfecting the room to produce aseptic conditions.

       Specifically, cleaning is not performed for processing SkinTE inside the ISO 7
       room.



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       241.    The violations denoted in Observation 7 are violations of Part 1271.195(a)(3),

which requires environmental controls and monitoring respecting cleaning and disinfecting of

rooms to ensure aseptic processing operations.

       242.    Specifically, Observation 8 found (emphasis supplied):

       Separate or defined areas to prevent contamination or mix-ups are deficient
       regarding the manufacturing and processing operations.

       243.    The violations denoted in Observation 8 are violations of Part 1271.195, which,

requires any facility used in the manufacture of HCT/Ps to be of suitable size, construction, and

location to prevent contamination and ensure orderly handling of without mix-ups.

       D.      Defendants Knew SkinTE Registration Under Section 361 Was Improper

       244.    On October 3, 2017, Defendants first announced that SkinTE had been registered

under Section 361, and then repeatedly stated that as fact throughout the rest of the Class Period.

       245.    At all relevant times, SkinTE did not meet the criteria for regulation solely under

Section 361. Defendants could not reasonably have concluded otherwise.

               1.      The FDA Regulatory Scheme For Regulating Human Cellular
                       And Tissue-Based Products

       246.    Sections 351 and 361 of the PHS Act provide the FDA with the authority to

establish regulatory requirements for marketing traditional biologics and HCT/Ps. These two

“regulatory pathways” differ in terms of time, effort and expense required to bring these products

to market.

       247.    Section 351 of the PHS Act is intended to regulate traditional biologics. Section

361 of the PSH Act does not identify a class of products, but rather authorizes the FDA to issue

regulations to prevent the introduction, transmission, or spread of communicable disease.

       248.    Subpart A of Part 1271 sets forth general provisions, including the definition of a

361 HCT/P eligible for regulation solely under Part 1271. Part 1271.3(d) defines HCT/Ps as,


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“articles containing or consisting of human cells or tissues that are intended for implantation,

transplantation, infusion, or transfer into a human recipient.

        249.    After determination that a product meets the HCT/P definition in Part 1271.3(d),

in order to determine if the HCT/P is regulated solely under Section 361, it must meet all of

the criteria set out in Part 1271.10(a):

       (a) An HCT/P is regulated solely under section 361 of the PHS Act and the regulations in
       this part if it meets all of the following criteria:

       (1) The HCT/P is minimally manipulated;
       (2) The HCT/P is intended for homologous use only, as reflected by the labeling,
       advertising, or other indications of the manufacturer's objective intent;
       (3) The manufacture of the HCT/P does not involve the combination of the cells or tissues
       with another article, except for water, crystalloids, or a sterilizing, preserving,
       or storage agent, provided that the addition of water, crystalloids, or the sterilizing,
       preserving, or storage agent does not raise new clinical safety concerns with respect to the
       HCT/P; and
       (4) Either:
       (i) The HCT/P does not have a systemic effect and is not dependent upon the metabolic
       activity of living cells for its primary function; or
       (ii) The HCT/P has a systemic effect or is dependent upon the metabolic activity of living
       cells for its primary function, and:
       (a) Is for autologous use;
       (b) Is for allogeneic use in a first-degree or second-degree blood relative; or
       (c) Is for reproductive use.

                2.     Regulation Of HCT/Ps Under Section 351 Is More
                       Burdensome, Expensive And Time Consuming Than
                       Regulation Under Section 361

        250.    Biologics that are regulated by the FDA under Section 351 require FDA approval

of a Biologics License Application (“BLA”) and are required to obtain premarket approvals and

clearance from the FDA. The BLA application requirements are extensive and include requests

for clinical data.



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       251.    Additionally, the biologics regulated under Section 351 may require an

Investigational New Drug Application (“IND”) which is a request for authorization from the

FDA to administer an investigational drug or biological product to humans. The IND application

requirements are also extensive.

       252.    In addition to the extensive BLA application process, regulation under Section

351 is both time consuming and costly. For example, the time to market from first development

is typically over 10 years and development costs can run well into the billions.

       253.    On the other hand, HCT/Ps that are marketed solely under Section 361 are not

required to obtain premarket approval/clearance from the FDA and do not require the extensive

registration, manufacturing, and reporting steps required under Section 351 since the marketers

of HCT/Ps are permitted to self-designate. The time to market for a Section 361 HCT/P is

typically one to two years and the development costs run around $1 million.

               3.     The FDA Provides Resources To Assist With The
                      Determination Of What Is The Appropriate Classification Of
                      An HCT/P

       254.    The Tissue Reference Group (“TRG”) was created by the FDA for the purpose of

providing a single reference point for product specific questions concerning jurisdiction and

applicable regulation of HCT/Ps. Furthermore, a Request for Designation (“RFD”) may be

submitted to the Office of Combination Products (“OCP”) to obtain a formal FDA decision

regarding the regulatory identity or classification of an HCT/P.

       255.    Additionally, the FDA has issued three guidance documents, dated December

2014, October 2015 and November 2017 (corrected December 2017) in order to provide the

industry with guidance on the FDA’s “current thinking” respecting how to interpret Part 1271:

December 2014 Guidance; October 2015 Guidance; 2017 Guidance.




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       256.    The 2017 Guidance states that, “[t]he interpretation of the minimal manipulation

and homologous use criteria and definitions of related key terms have been of considerable

interest to industry stakeholders since the criteria and definitions were first proposed” and

purports to provide specific guidance on the FDA’s “current thinking” regarding Part

1271.10(a)(1) criterion of minimal manipulation and the Part 1271.10(a)(2) criterion of

homologous use. The Guidance was intended to “facilitate stakeholders’ understanding” of how

these regulatory criteria apply to their HCT/Ps.

               4.     Defendants Provided A Description Of SkinTE And The
                      Technology Behind It Which Demonstrated That SkinTE
                      Could Not Qualify For Regulation Solely Under Section 361

       257.    On October 3, 2017, PolarityTE issued a press release announcing that it had

registered SkinTE with the FDA pursuant to Section 361. Through the Class Period, PolarityTE

represented that SkinTE was subject to regulation by the FDA solely under 361. These

statements were materially false and misleading because the SkinTE product, as described by

Defendants, does not meet the criteria for regulations solely under Section 361.

       258.    In December 2014, Defendant Lough filed a provisional patent application (62/

086,526) (“Provisional Application”).     Defendant Lough filed the November 2015 SkinTE

Patent Application on November 30, 2015. The November 2015 SkinTE Patent Application

notes that it is related to the Provisional Application and both appear to address the technology

and purported invention underlying the SkinTE product.

       259.    The SkinTE technology invention appears to focus on a special population of

LGR4, LGR5 and LGR6 expressing cells potentially supported by a matrix, scaffolding and

supplemental growth factors.

       260.    PolarityTE filed two subsequent patent applications on July 14, 2017. These

patent applications (15/650,656 and 15/650,659) are noted as related to the November 2015


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SkinTE Patent Application and address the same technology and purported invention underlying

the SkinTE product.

          261.   The data behind the SkinTE technology, as reflected in the November 2015

SkinTE Patent Application, appears to be contained in two papers authored by Defendant Lough

in 2013 and 2016. Additionally, earlier versions of the papers formed part of the submitted

specification associated with the Provisional Application.

          262.   The Lough 2016 paper describes a procedure calls for the isolation of a

population of LGR6 expressing epithelia cells which is then cultured in a growth hormone

containing medium, is then allowed to adhere to a matrix, and is thereafter placed in a murine

wound model. The procedure is therefore presented as a “new method of providing skin to those

wound beds that are intrinsically incapable of healing themselves.”

          263.   A June 29, 2017 Business Presentation, titled “NASDAQ: COOL PolarityTE

where self regenerates self,” contains a slide describing the SkinTE process. The description of

the process, as well as the graphics in the slide, represent a procedure that appears to mirror

tissue engineering which involves the use of a tissue scaffold for the formation of new viable

tissue.




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       264.      PolarityTE’s Form 2017 10-K Report, provides more relevant descriptions of the

SkinTE product and the underlying technology, stating (emphasis supplied):

             •   SkinTE is created from a small piece of the patient’s own tissue…to expand and
                 regenerate full-thickness, fully functional skin
             •   We use proprietary techniques to create a paste-like product from the small piece
                 of healthy patient tissue.

       265.      PolarityTE’s Form 2017 10-K Report also describes the procedure and strategy

behind how the SkinTE product would function, stating that (emphasis supplied):             “With

SkinTE, often within 24-48 hours of the initial skin harvest, our product is applied to the

patient..”

       266.      Finally, a February 17, 2018 Salt Lake Tribute article titled “This Salt Lake City

startup says its stem cell treatment will regenerate skin…” purports to contain information

provided by PolarityTE, and mentions the use of “growth factors” in the process (emphasis

supplied): “The cells are placed into a paste that includes growth factors Ñ substances.”

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               5.      SkinTE Had No Basis To Seek Regulation Solely Under
                       Section 361

       267.    An HCT/P of the kind underlying the SkinTE product is eligible for regulation

solely under Section 361 only if it meets the criteria set out in Part 1271.10 (a).

       268.    A review of the November 2015 SkinTE Patent Application and related patent

applications, the Lough Papers (which describe the processes underlying the SkinTE product)

and PolarityTE’s description of the SkinTE product in its SEC filing and business presentation

demonstrates that SkinTE does not qualify for regulation under Section 361.

                       a) SkinTE Does Not Meet The “Minimally Manipulated” Prong
                          Under Part 1271(a)(1)

       269.    Under Part 1271(a)(1), an HCT/P can be regulated solely under Section 361 if it

has been only “minimally manipulated.”

       270.    Part 1271.3(f) defines what entails “minimally manipulated” depending on

whether the HCT/P is considered “structural tissue” or “cells or nonstructural tissue.”

       271.    The 2017 Guidance considers skin a “structural tissue.” The 2017 Guidance also

explains that skin is a structural tissue which “physically support[s] or serve[s] as a barrier or

conduit, cover, or cushion in the donor.” (pg. 7).

       272.    Thus, under Part 1271.3(f)(1), “for structural tissue”, “minimally manipulated”

means “processing that does not alter the original relevant characteristics of the tissue relating to

the tissue’s utility for reconstruction, repair or replacement.”

       273.    PolarityTE’s 2017 10-K and the June 2017 Business Presentation, describe the

SkinTE product as entailing the excision of full-thickness skin, which is then processed –using

PolarityTE’s “platform technology” – to yield a paste which is applied back to the patient.




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       274.    On its face, the creation of a “paste” from skin, exceeds minimal manipulation

because it “alter[s] the original relevant characteristics of the” skin which is to “physically

support[s] or serve[s] as a barrier or conduit, cover, or cushion in the donor.”

       275.    The 2017 Guidance provides an analogous method used as an example of the type

of processing which is considered more than “minimally manipulated” (emphasis supplied): “A

manufacturer processes skin by removing the epidermis and then grinding the dermis into

particles…is considered more than minimally manipulated because the processing alters the

original relevant characteristics of skin related to its utility as a protective covering.”

       276.    It would follow that if the removal of dermis and its subsequent grinding into

particles is considered more than “minimally manipulated” processing, so would be the removal

and grinding of skin into a paste.

                       b) SkinTE Does Not Meet The “Homologous Use” Prong Under Part
                          1271(1)(2)

       277.    Under Part 1271(a)(2), an HCT/P can be regulated solely under Section 361 if the

HCT/P is intended for homologous use only.

       278.     Part 1271.3(c) defines “homologous use” as “the repair, reconstruction,

replacement, or supplementation of a recipient’s cells or tissues with an HCT/P that performs the

same basic function or functions in the recipient as in the donor.” (Emphasis supplied.)

       279.    Under the 2017 Guidance (emphasis supplied):             “The basic function of an

HCT/P is what it does from a biological/physiological point of view, or is capable of doing

when in its native state…Basic functions are well understood; it should not be necessary to

perform laboratory, preclinical, or clinical studies to demonstrate…”

       280.    Thus, under the 2017 Guidance construction of what is a “basic function” – for

purposes of determining “homologous use” – the SkinTE product’s “basic” function of



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“regenerating full-thickness skin” would have to be so easily understood that no laboratory,

preclinical or clinical studies would be required.

       281.    The Lough 2016 Paper readily admits that it “seek[s] to determine” whether the

LGR6 cell population is effective for translational use. If the function of SkinTE were indeed as

“basic” as contemplated by the FDA, there would be no need for PolarityTE to conduct

preclinical trials or trials of any sort to explain the function of the product; and, the experiments

described in the Lough Papers intended to clarify the cell population at issue would not be

necessary.

       282.    In sum, the description of the SkinTE product as one that “regenerates full-

thickness hair bearing skin” is a claim beyond a “basic function” under homologous use.

                       c) SkinTE Does Not Meet The No “Combination” With “Another
                          Article” Prong Under Part 1271(3)

       283.    Under Part 1271(a)(3), an HCT/P can be regulated solely under Section 361 if

“the manufacture of the HCT/P does not involve the combination of the cells or tissues with

another article, except for water, crystalloids… (emphasis supplied).

       284.    By definition, under Part 1271(a)(3), an HCT/P would not be subject to regulation

solely pursuant to Section 361 if it is mixed with a carrier or if it is treated with supplements,

such as growth hormone/factors or enzymes, during manufacture.

                             i. SkinTE Entails The Use Of Growth Factors

               285.    Defendant Lough’s Papers explicitly note that the process involves

culturing with various growth factors – fetal bovine serum, endothelial growth factor and basic

fibroblast growth factor. The process also entails the addition of insulin and hydrocortisone:

       286.    Also, as noted, supra ¶ 266, PolarityTE has described one of the steps in the

formulation of SkinTE as entailing the combination of growth factors.



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       287.     Additionally, the application 15/650,659 also mentions the use of growth factors

in the process (emphasis supplied): “The method…consisting of growth factors...”

                            ii. SkinTE Entails The Use Of Digestive Enzymes

       288.     Patent application 15/650,659 mentions the use of digestive enzymes in the

SkinTE process. The application explains how the received samples are processed and turned

into the necessitated paste with the use of enzymes (emphasis supplied): “ by placing the

specimen into 50 ml conical tube containing MSC Enzymatic Digestive Media, a pre-mixed

digestive enzyme solution (collagenase and dispase-based)…

                            iii. SkinTE Entails The Use Of Scaffolding

       289.     The Lough 2016 paper specifically references the use of scaffolding: “the LGR6

epithelial stem… seeded onto a spectrum of acellular scaffolds…Lough 2016 (emphasis

supplied).

       290.     The November 2015 SkinTE Patent Application also mentions the use of

scaffolding (emphasis supplied): “including isolated living LGR expressing cells and a multi-

dimensional support selected from the group consisting of scaffolding, collagen, matrix,

particle…”

       291.     The patent application 15/650,659 also mentions the use of scaffolding (emphasis

supplied):    “LGR expressing cells to a multidimensional support selected from the group

consisting of scaffolding, collagen, matrix, particle, and fiber.

       292.     Also, as described in the slide, supra ¶ 263, a June 2017 PolarityTE presentation,

provides a graphic, which shows the process being akin to tissue engineering scaffolding.

       293.     In conclusion, a review of Defendants’ various materials: the Lough Papers, the

November 2015 SkinTE Patent Application, the July 2017 patent applications, and descriptions

of the SkinTE process provided by PolarityTE in articles and business presentations, coupled


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with an analysis of the requirements for Section 361 regulation and the 2017 Guidance,

undoubtedly demonstrates that SkinTE is afoul of all three pertinent Section 361 requirements

and is not an HCT/P that qualifies for regulation under the Section.

       294.     Eventually, PolarityTE removed both the scaffold and growth factors from the

marketed version of SkinTE, as reflected in an investor presentation at Jeffries 2018 Global

Healthcare Conference.      Notwithstanding, SkinTE still does not satisfy the Section 361

requirements.

                6.     PolarityTE Knew That SkinTE Should Have Been Registered
                       For Regulation As A Section 351 Product But Chose To
                       Register SkinTE As A Section 361 HCT/P In Order To A
                       Avoid The Burdensome Requirements Under Section 351

       295.     Because SkinTE did not quality for regulation under Section 361, it was subject to

regulation under the FDCA and/or Section 351. As explained, supra ¶¶ 250-253, regulation

under Section 351 is extraordinarily more burdensome than regulation under Section 361

because it entails premarket approvals and clearance from the FDA, as well as related costs.

Additionally, a product brought to market under Section 351 can expect a time to market of 10

years after first development.     In contrast, PolarityTE’s various SEC filings contemplated

bringing to market the various “TE” “platform” products within two years of development.

       296.     On October 25, 2017, Seeking Alpha published an article by White Diamond

Research titled, “PolarityTE: A Comprehensive Look At The Bull Vs. Bear Cases. In that

article, the author references a discussion with Defendant Stetson where Stetson noted the

smaller market for Epicel and Vericel as a result of their FDA approval. He praised PolarityTE’s

ability to address any market because it was not restricted to only the market for which it had

FDA approval, since it never actually sought or received FDA approval. This tends to indicate

that business strategy was the primary reason PolarityTE chose to register under Section 361,

instead of the belief that SkinTE properly fell under the Section 361 provisions.
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        297.   PolarityTE’s SEC filings demonstrate that the Company was intimately aware of

the process behind designation of an HCT/P as regulated under Section 361. The Company’s

SEC Form 10-K for the fiscal year ended October 31, 2017 (“2017 10-K) stated (emphasis

added): “In the United States, HCT/Ps are subject to varying degrees of regulation by the

FDA, depending on if they fall solely within the scope of Section 361…If an HCT/P meets the

criteria for regulation solely under Section 361…no premarket FDA review for safety and

effectiveness under a drug, device, or biological product marketing application is required.”

        298.   PolarityTE’s 2017 10-K also demonstrates that the Company understood how

burdensome it would be to bring SkinTE, and the technology behind it, to market under Section

351 (emphasis supplied): “Manufacturers of new drugs, biologics and some medical devices

must complete extensive clinical trials, which must be conducted pursuant to an effective IND

or IDE. In addition, the FDA must review and approve a BLA or NDA before a new drug or

biologic may be marketed. For most medical devices, including novel or high-risk medical

devices, FDA must approve a premarket approval application (“PMA”) or grant clearance to a

premarket notification (“510(k)”) application prior to marketing of the device…”

        299.   Additionally, PolarityTE’s 2017 10-K notes the importance of the “minimally

manipulated” and “homologous use” criteria in the context of Section 361 (emphasis supplied):

“The FDA’s criteria for regulation as a 361 HCT/P are complex, and the FDA has not provided

comprehensive guidance on the meaning of certain terms used in the criteria, such as

“minimal manipulation,” “homologous,” or “combination of the cells and tissues with another

article.””

        300.   However, the December 2014 Guidance and October 2015 Guidance, which were

released years prior to the SkinTE’s designation as a Section 361 product, provide meaningful

guidance on key terms and interpretations which would have assisted PolarityTE in correctly


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determining if SkinTE qualified for regulation under Section 361. For example, the Guidance

stated (emphasis supplied): “tissues that physically support or serve as a barrier or conduit, or

connect, cover, or cushion are generally considered structural tissues for the purpose of

applying the regulatory framework and you should consider whether the processing alters an

original relevant characteristic of the tissue, relating to the tissue’s utility for reconstruction,

repair, or replacement as structural tissue…A homologous use for a structural tissue would

generally be to perform a structural function in the recipient, for example, to physically support

or serve as a barrier or conduit, or connect, cover, or cushion.”

       301.    More relevant, by the time PolarityTE filed its 2017 10-K, on January 30, 2018,

the 2017 Guidance had been released (November 2017, corrected December 2017), which, as

discussed, supra ¶ 256, was released precisely because the interpretation of those two criteria

had received considerable interest by industry stakeholders, the FDA wanted to provide guidance

on its “current thinking” and it provided exacting examples that directly apply to the SkinTE

process.

       302.    As stated in the Company’s 2017 10-K, PolarityTE was aware that it had a duty to

revise this designation if it arrived at a determination that its product did not meet the

requirements under Section 361 (emphasis supplied): “All establishments that manufacture 361

HCT/Ps…are required to update their registration annually in December or within 30 days of

certain changes, and submit changes in HCT/P listing…”

       303.    Nevertheless, SkinTE continued to be registered as a Section 361 product

throughout the Class Period and up to the present.

       304.    In addition to FDA guidance, as discussed, supra ¶ 254, the FDA has bodies

dedicated to helping manufacturers determine classification of their products. According to

PolarityTE’s SEC filings, it chose not to approach the FDA for guidance despite the fact that by


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its own admission SkinTE and the “platform technology” are a “novel approach”, which, would

have benefitted from FDA guidance early on.

        305.   Because PolarityTE knew of the requirements for regulation under Section 361,

had access to FDA guidance, and knew the formulation behind the SkinTE process, it is clear

that the Company had no reasonable basis for concluding that its Skin TE product met the

requirements for regulation under Section 361 and its representations that SkinTE was regulated

under Section 361 were materially false and misleading.

VII.    PLAINTIFF’S CLASS ACTION ALLEGATIONS

        306.   Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired the publicly traded securities of PolarityTE during the Class Period (the

“Class”); and were damaged upon the revelation of the alleged corrective disclosures. Excluded

from the Class are Defendants herein, the officers and directors of the Company, at all relevant

times, members of their immediate families and their legal representatives, heirs, successors or

assigns and any entity in which Defendants have or had a controlling interest.

        307.   The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, PolarityTE securities were actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by PolarityTE or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.




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       308.    Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       309.    Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       310.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               •       whether the federal securities laws were violated by Defendants’ acts as
                       alleged herein;

               •       whether statements made by Defendants to the investing public during the
                       Class Period misrepresented material facts about the financial condition,
                       business, operations, and management of PolarityTE;

               •       whether Defendants caused PolarityTE to issue false and misleading
                       financial statements during the Class Period;

               •       whether Defendants acted knowingly or recklessly in issuing false and
                       misleading financial statements;

               •       whether the prices of PolarityTE securities during the Class Period were
                       artificially inflated because of Defendants’ conduct complained of herein;
                       and

               •       whether the members of the Class have sustained damages and, if so, what
                       is the proper measure of damages.

       311.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually




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redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        312.      Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                  •      Defendants made public misrepresentations or failed to disclose material
                         facts during the Class Period;

                  •      the omissions and misrepresentations were material;

                  •      PolarityTE common shares are traded in efficient markets;

                  •      the Company’s shares were liquid and traded with moderate to heavy
                         volume during the Class Period;

                  •      the Company traded on the NASDAQ, and was covered by multiple
                         analysts;

                  •      the misrepresentations and omissions alleged would tend to induce a
                         reasonable investor to misjudge the value of the Company’s common
                         shares; and

                  •      Plaintiff and members of the Class purchased and/or sold PolarityTE
                         common shares between the time the Defendants failed to disclose or
                         misrepresented material facts and the time the true facts were disclosed,
                         without knowledge of the omitted or misrepresented facts.

        313.      Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        314.      Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.




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                                               COUNT I

               Violation Of Section 10(b) Of The Exchange Act And Rule 10b-5
                                    Against All Defendants

        315.    Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        316.    This Count is asserted against PolarityTE and the Individual Defendants and is

based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

        317.    During the Class Period, PolarityTE and the Individual Defendants, individually

and in concert, directly or indirectly, disseminated or approved the false statements specified

above, which they knew or deliberately disregarded were misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

        318.    PolarityTE and the Individual Defendants violated §10(b) of the 1934 Act and

Rule 10b-5 in that they:

                •         employed devices, schemes and artifices to defraud;
                •         made untrue statements of material facts or omitted to state material facts
                          necessary in order to make the statements made, in light of the
                          circumstances under which they were made, not misleading; or
                •         engaged in acts, practices and a course of business that operated as a fraud
                          or deceit upon plaintiff and others similarly situated in connection with
                          their purchases of PolarityTE common shares during the Class Period.

        319.    PolarityTE and the Individual Defendants acted with scienter in that they knew

that the public documents and statements issued or disseminated in the name of PolarityTE were

materially false and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated, or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

securities laws. These Defendants by virtue of their receipt of information reflecting the true
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facts of PolarityTE, their control over, and/or receipt and/or modification of PolarityTE allegedly

materially misleading statements, and/or their associations with the Company which made them

privy to confidential proprietary information concerning PolarityTE, participated in the

fraudulent scheme alleged herein.

       320.    Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other PolarityTE personnel to members

of the investing public, including Plaintiff and the Class.

       321.    As a result of the foregoing, the market price of PolarityTE common shares was

artificially inflated during the Class Period. In ignorance of the falsity of PolarityTE’s and the

Individual Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of PolarityTE common shares

during the Class Period in purchasing PolarityTE common shares at prices that were artificially

inflated as a result of PolarityTE’s and the Individual Defendants’ false and misleading

statements.

       322.    Had Plaintiff and the other members of the Class been aware that the market price

of PolarityTE common shares had been artificially and falsely inflated by PolarityTE’s and the

Individual Defendants’ misleading statements and by the material adverse information which

PolarityTE’s and the Individual Defendants did not disclose, they would not have purchased

PolarityTE’s common shares at the artificially inflated prices that they did, or at all.

       323.    As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.


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       324.    By reason of the foregoing, PolarityTE and the Individual Defendants have

violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to

the Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchase of PolarityTE common shares during the Class Period.

                                            COUNT II

    Violation Of Section 20(a) Of The Exchange Act Against The Individual Defendants

       325.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       326.    During the Class Period, the Individual Defendants participated in the operation

and management of PolarityTE, and conducted and participated, directly and indirectly, in the

conduct of PolarityTE’s business affairs. Because of their senior positions, they knew the

adverse non-public information regarding the Company’s inadequate internal safeguards in data

security protocols.

       327.    As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to

PolarityTE’s financial condition and results of operations, and to correct promptly any public

statements issued by PolarityTE which had become materially false or misleading.

       328.    Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which PolarityTE disseminated in the marketplace during the Class

Period. Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause PolarityTE to engage in the wrongful acts complained of herein. The

Individual Defendants therefore, were “controlling persons” of PolarityTE within the meaning of




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Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of PolarityTE common shares.

       329.       By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by PolarityTE.

VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.         Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;

       B.         Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;

       C.         Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.         Awarding such other and further relief as this Court may deem just and proper.

IX.    DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: April 2, 2019
                                                    Respectfully submitted,


                                                    POMERANTZ LLP

                                                    By: /s/ Jeremy A. Lieberman

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of April, 2019, a true and correct copy of the

foregoing AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE

FEDERAL SECURITIES LAWS was served on counsel who have appeared electronically in

this action.



                                                      /s/     Jon V. Harper




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